                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                               AT NASHVILLE

PROCRAFT CABINETRY, INC.,        )
                                 )
       Plaintiff,                )
                                 )                CIVIL ACTION NO._________________
v.                               )
                                 )                JURY DEMAND
SWEET HOME KITCHEN AND BATH,     )
INC. d/b/a PROCRAFT CHICAGO,     )
PROCRAFT CABINETRY FLORIDA,      )
LLC, PROCRAFT CABINETRY          )
DALLAS, LLC, PROCRAFT CABINETRY )
HOUSTON, LLC, PROCRAFT           )
CABINETRY SEATTLE, LLC, THE      )
CABINET AND GRANITE DEPOT, LLC )
d/b/a PROCRAFT CABINET & GRANITE )
DEPOT, HUNT PREMIER PROPERTIES, )
LLC d/b/a PROCRAFT CABINET &     )
GRANITE DEPOT, PROCRAFT          )
CABINETRY URBANDALE,             )
QIANG HUANG, MIN HUA LIN,        )
YONGCHUN YANG, SHU LIN, YAO      )
ZHAO, XIGUANG TANG, PAUL CHIH    )
YANG LIN, TAO YU ZHENG, JIA LIU, )
QIQI JIANG, WENCHEN CHEN,        )
LONGRONG LIN, KEVIN GUO,         )
CHANGUANG LIN, SHAOCHUN LIN,     )
SHENGQUAN GUO, CHANGZHU LIN,     )
QINGFEN CHEN, QIAO YUN HUANG,    )
QIAO HUNT, and DERICK HUNT,      )
                                 )
       Defendants.               )


                                       COMPLAINT


      Plaintiff ProCraft Cabinetry, Inc. (“Plaintiff” or “ProCraft”), for its Complaint against

Defendants Sweet Home Kitchen and Bath, Inc. d/b/a ProCraft Chicago, ProCraft Cabinetry

Florida, LLC, ProCraft Cabinetry Dallas, LLC, ProCraft Cabinetry Houston, LLC, ProCraft




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Cabinetry Seattle, LLC, The Cabinet and Granite Depot LLC d/b/a ProCraft Cabinet & Granite

Depot, Hunt Premier Properties, LLC d/b/a ProCraft Cabinet & Granite Depot, ProCraft

Cabinetry Urbandale, Qiang Huang, Min Hua Lin, Yongchun Yang, Shu Lin, Yao Zhao,

Xiguang Tang, Paul Chih Yang Lin, Tao Yu Zheng, Jia Liu, Qiqi Jiang, Wenchen Chen,

Longrong Lin, Kevin Guo, Changuang Lin, Shaochun Lin, Shengquan Guo, Changzhu Lin,

Qingfen Chen, Qiao Yun Huang, Qiao Hunt, and Derick Hunt (collectively, “Defendants”),

states as follows:

                                     I.      INTRODUCTION

       1.        Plaintiff brings this case under the Racketeer Influenced and Corrupt

Organizations Act, the Lanham Act, and various other federal and state statutes and common

law. Defendants are engaged in a unlawful enterprise that illegally imports, offers for sale, and

sells counterfeit cabinetry (e.g., kitchen and bathroom cabinets) that bears identical or confusing

and substantially similar marks to Plaintiff’s registered PROCRAFT trademark and PROCRAFT

design trademark (the “Counterfeit Cabinetry”). Defendants conduct is intentional, systematic,

and egregious.

       2.        As described more fully herein, certain Defendants are former retailers and their

owners who purchased cabinetry from Plaintiff. After failing to pay for millions of dollars in

cabinetry, those Defendants simply began importing the Counterfeit Cabinetry. In fact, there

have been numerous instances in which consumers have contacted Plaintiff believing that

counterfeit cabinets sold by Defendants were actually cabinets purchased from Plaintiff.

       3.        Plaintiff seeks injunctive relief to stop Defendants’ illegal actions before further

harm is done. Plaintiff also seeks monetary and punitive damages to compensate Plaintiff, to the

extent that can be done, for all of the damage caused by Defendants and to deter further and

future illegal actions by Defendants.
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       4.      Plaintiff and Defendants previously discussed settlement of this case for several

months but no resolution was achieved. After settlement discussions were determined to be

futile, Plaintiff dismissed without prejudice a prior pending lawsuit in the Chancery Court for

Davidson County, Tennessee and filed the present Complaint.

                                         II.   THE PARTIES

       5.      Plaintiff ProCraft Cabinetry, Inc. (“ProCraft” or “Plaintiff”) is a corporation

incorporated under the laws of the State of Tennessee, with its principal place of business located

at 429 McNally Drive, Nashville, Tennessee 37211.

       6.      Upon information and belief, Defendant Sweet Home Kitchen and Bath, Inc. d/b/a

ProCraft Chicago (“Sweet Home”) is a corporation incorporated under the laws of the State of

Illinois, with its principal place of business at 4620 Roosevelt Road, Hillside, Illinois 60162.

Upon information and belief, Sweet Home does business in Tennessee, including in this district.

Sweet Home may be served with process through service upon its registered agent, Qiang

Huang, at 4620 Roosevelt Road, Hillside, Illinois 60162. Sweet Home is a “person” under 18

U.S.C. § 1961(3) because it can and, upon information and belief, legally does own property or

has a beneficial interest in property.

       7.      Upon information and belief, Defendant ProCraft Cabinetry Florida, LLC (“PC

Florida”) is a limited liability company organized under the laws of the State of Florida, with its

principal place of business at 1850 South Powerline Road, Suite A-H, Deerfield Beach, Florida

33442. Upon information and belief, PC Florida does business in Tennessee, including in this

district. PC Florida may be served with process through service upon its registered agent, Paul

Chih Yang Lin, at 1850 South Powerline Road, Suite A-H, Deerfield Beach, Florida 33442. PC




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Florida is a “person” under 18 U.S.C. § 1961(3) because it can and, upon information and belief,

legally does own property or has a beneficial interest in property.

       8.      Upon information and belief, Defendant ProCraft Cabinetry Dallas, LLC (“PC

Dallas”) is a limited liability company organized under the laws of the State of Texas, with its

principal place of business at 2230 Lyndon B. Johnson Freeway, Suite 100, Dallas, Texas 75234.

Upon information and belief, PC Dallas does business in Tennessee, including in this district.

PC Dallas may be served with process through service upon its registered agent, Tao Zheng, at

2230 Lyndon B. Johnson Freeway, Suite 100, Dallas, Texas 75234. PC Dallas is a “person”

under 18 U.S.C. § 1961(3) because it can and, upon information and belief, legally does own

property or has a beneficial interest in property.

       9.      Upon information and belief, Defendant ProCraft Cabinetry Houston, LLC (“PC

Houston”) is a limited liability company organized under the laws of the State of Texas, with its

principal place of business at 4647 Pine Timbers Street, Suite 100, Houston, Texas 77041. Upon

information and belief, PC Houston does business in Tennessee, including in this district. PC

Houston may be served with process through service upon its registered agent, Tao Zheng, at

4647 Pine Timbers Street, Suite 100, Houston, Texas 77041. PC Houston is a “person” under 18

U.S.C. § 1961(3) because it can and, upon information and belief, legally does own property or

has a beneficial interest in property.

       10.     Upon information and belief, Defendant ProCraft Cabinetry Seattle, LLC (“PC

Seattle”) is a limited liability company organized under the laws of the State of Washington, with

its principal place of business at 20848 84th Avenue South, Kent, Washington 98032. Upon

information and belief, PC Seattle does business in Tennessee, including in this district. PC

Seattle may be served with process through service upon its registered agent, Jia Liu, at 20848


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84th Avenue South, Kent, Washington 98032. PC Seattle is a “person” under 18 U.S.C. §

1961(3) because it can and, upon information and belief, legally does own property or has a

beneficial interest in property.

       11.     Upon information and belief, Defendant The Cabinet and Granite Depot LLC

d/b/a ProCraft Cabinet & Granite Depot (“CGD”) is a limited liability company organized under

the laws of the State of Ohio, with its principal place of business at 9850 Princeton Glendale

Road, Suite E, Cincinnati, Ohio 45246.         Upon information and belief, CGD operates a

showroom under the name “ProCraft Cabinetry & Granite Depot” located at 4756 Houston Road,

Florence, Kentucky 41042. Upon information and belief, CGD does business in Tennessee,

including in this district. CGD may be served with process through service upon its registered

agent, Qiao Yun Huang, at 9850 Princeton Glendale Road, Suite E, Cincinnati, Ohio 45246.

CGD is a “person” under 18 U.S.C. § 1961(3) because it can and, upon information and belief,

legally does own property or has a beneficial interest in property.

       12.     Upon information and belief, Defendant Hunt Premier Properties LLC /b/a

ProCraft Cabinet & Granite Depot (“PC Kentucky”) is a limited liability company organized

under the laws of the State of Ohio, with its principal place of business at 213 West Stoneridge

Drive, Milford, Ohio 45150. Upon information and belief, PC Kentucky operates a showroom

under the name “ProCraft Cabinetry & Granite Depot” located at 4756 Houston Road, Florence,

Kentucky 41042. Upon information and belief, PC Kentucky does business in Tennessee,

including in this district. PC Kentucky may be served with process through service upon its

registered agent, Qiao Hunt, at 213 West Stoneridge Drive, Milford, Ohio 45150. PC Kentucky

is a “person” under 18 U.S.C. § 1961(3) because it can and, upon information and belief, legally

does own property or has a beneficial interest in property.


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       13.     Upon information and belief, Defendant ProCraft Cabinetry Urbandale (“PC

Urbandale”), is an unincorporated entity doing business at 10052 Justin Drive, Suite H,

Urbandale, Iowa 50322.       Upon information and belief, PC Urbandale may be served with

process through service upon an officer, a managing or general agent, or any other agent

authorized by appointment or by law to receive service of process at its principal place of

business, located at 10052 Justin Drive, Suite H, Urbandale, Iowa 50322. PC Urbandale is a

“person” under 18 U.S.C. § 1961(3) because it can and, upon information and belief, legally does

own property or has a beneficial interest in property.

       14.     Upon information and belief, Defendant Qiang “Peter” Huang (“Peter Huang”) is

an Illinois resident located at 4709 Devon Avenue, Lisle, Illinois 60532. Peter Huang is a

“person” under 18 U.S.C. § 1961(3) because he can and, upon information and belief, legally

does own property or has a beneficial interest in property.

       15.     Upon information and belief, Defendant Min Hua “Jackey” Lin (“Jackey Lin”) is

an Illinois resident located at 9128 Talcott Road, Woodridge, Illinois 60517. Jackey Lin is a

“person” under 18 U.S.C. § 1961(3) because she can and, upon information and belief, legally

does own property or has a beneficial interest in property.

       16.     Upon information and belief, Defendant Yongchun Yang is a Tennessee resident

located at 4717 Belmont Park Terrace, Nashville, Tennessee 37215. Yongchun Yang is a

“person” under 18 U.S.C. § 1961(3) because Yongchun Yang can and, upon information and

belief, legally does own property or has a beneficial interest in property.

       17.     Upon information and belief, Defendant Shu Lin is an Illinois resident located at

880 South Chatham Avenue, Addison, Illinois 60101. Shu Lin is a “person” under 18 U.S.C. §




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1961(3) because Shu Lin can and, upon information and belief, legally does own property or has

a beneficial interest in property.

        18.     Upon information and belief, Defendant Yao Zhao is an Alabama resident located

at 4811 Inglewood Court SE, Owens Cross Roads, Alabama 35763. Yao Zhao is a “person”

under 18 U.S.C. § 1961(3) because Yao Zhao can and, upon information and belief, legally does

own property or has a beneficial interest in property.

        19.     Upon information and belief, Defendant Xiguang Tang is an Alabama resident

located at 4811 Inglewood Court SE, Owens Cross Roads, Alabama 35763. Xiguang Tang is a

“person” under 18 U.S.C. § 1961(3) because Xiguang Tang can and, upon information and

belief, legally does own property or has a beneficial interest in property.

        20.     Upon information and belief, Defendant Paul Chih Yang Lin is an Illinois resident

located at 2 Georgetown Court, Algonquin, Illinois 60102. Paul Chih Yang Lin is a “person”

under 18 U.S.C. § 1961(3) because he can and, upon information and belief, legally does own

property or has a beneficial interest in property.

        21.     Upon information and belief, Defendant Tao Yu Zheng is a Texas resident located

at 4647 Pine Timbers Street, Suite 100, Houston, Texas 77041. Tao Yu Zheng is a “person”

under 18 U.S.C. § 1961(3) because Tao Yu Zheng can and, upon information and belief, legally

does own property or has a beneficial interest in property.

        22.     Upon information and belief, Defendant Jia Liu is an Illinois resident located at

5038 Jarlath Avenue, Skokie, Illinois 60077. Jia Liu is a “person” under 18 U.S.C. § 1961(3)

because Jia Liu can and, upon information and belief, legally does own property or has a

beneficial interest in property.




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       23.     Upon information and belief, Defendant Qiqi Jiang is an Indiana resident located

at 9574 Dewey Place, Crown Point, Indiana 46307. Qiqi Jiang is a “person” under 18 U.S.C. §

1961(3) because Qiqi Jiang can and, upon information and belief, legally does own property or

has a beneficial interest in property.

       24.     Upon information and belief, Defendant Wenchen Chen is an Illinois resident

located at 1517 East Lowden Lane, Mount Prospect, Illinois 60056.             Wenchen Chen is a

“person” under 18 U.S.C. § 1961(3) because Wenchen Chen can and, upon information and

belief, legally does own property or has a beneficial interest in property.

       25.     Upon information and belief, Defendant Longrong Lin is an Illinois resident

located at 17846 Greenwood Drive, Tinley Park, Illinois 60487. Longrong Lin is a “person”

under 18 U.S.C. § 1961(3) because Longrong Lin can and, upon information and belief, legally

does own property or has a beneficial interest in property.

       26.     Upon information and belief, Defendant Kevin Guo is an Illinois resident located

at 1859 Krowka Drive, Des Plaines, Illinois 60018. Kevin Guo is a “person” under 18 U.S.C. §

1961(3) because Kevin Guo can and, upon information and belief, legally does own property or

has a beneficial interest in property.

       27.     Upon information and belief, Defendant Changguang Lin is an Illinois resident

located at 22108 Meadow Lake Place, Richton Park, Illinois 60471. Changguang Lin is a

“person” under 18 U.S.C. § 1961(3) because Changguang Lin can and, upon information and

belief, legally does own property or has a beneficial interest in property.

       28.     Upon information and belief, Defendant Shaochun Lin is a New York resident

located at 4838 203rd Street, First Floor, Oakland Gardens, New York 11364. Shaochun Lin is a




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“person” under 18 U.S.C. § 1961(3) because Shaochun Lin can and, upon information and belief,

legally does own property or has a beneficial interest in property.

       29.     Upon information and belief, Defendant Shengquan Guo is an Illinois resident

located at 3915 Niblick Court, Crystal Lake, Illinois 60012. Shengquan Guo is a “person” under

18 U.S.C. § 1961(3) because Shengquan Guo can and, upon information and belief, legally does

own property or has a beneficial interest in property.

       30.     Upon information and belief, Defendant Changzhu Lin is an Illinois resident

located at 17538 Dolorosa Drive, Orland Park, Illinois 60467. Changzhu Lin is a “person” under

18 U.S.C. § 1961(3) because Changzhu can and, upon information and belief, legally does own

property or has a beneficial interest in property.

       31.     Upon information and belief, Defendant Qingfen Chen is an Illinois resident

located at 9128 Talcott Road, Woodridge, Illinois 60517. Qingfen Chen is a “person” under 18

U.S.C. § 1961(3) because Qingfen Chen can and, upon information and belief, legally does own

property or has a beneficial interest in property.

       32.     Upon information and belief, Defendant Qiao Yun Huang is an Ohio resident

located at 9850 Princeton Glendale Road, Suite E, Cincinnati, Ohio 45246. Qiao Yung Huang is

a “person” under 18 U.S.C. § 1961(3) because Qiao Yung Huang can and, upon information and

belief, legally does own property or has a beneficial interest in property.

       33.     Upon information and belief, Defendant Qiao Hunt is an Ohio resident located at

213 West Stoneridge Drive, Milford, Ohio 45150. Qiao Hunt is a “person” under 18 U.S.C. §

1961(3) because Qiao Hunt can and, upon information and belief, legally does own property or

has a beneficial interest in property.




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       34.     Upon information and belief, Defendant Derick Hunt an Ohio resident located at

213 West Stoneridge Drive, Milford, Ohio 45150. Derick Hunt is a “person” under 18 U.S.C. §

1961(3) because Derick Hunt can and, upon information and belief, legally does own property or

has a beneficial interest in property.

                                   III.     NATURE OF ACTION

       35.     This is an action for causes of action arising under the Racketeer Influenced and

Corrupt Organizations (“RICO”) Act, 18 U.S.C. §§ 1961 et seq.; trademark infringement, unfair

competition, false designation of origin, false advertising, and cybersquatting arising under

Section 43 of the Trademark Act of 1946 (“Lanham Act”), as amended, 15 U.S.C. § 1051 et seq.;

common law trademark infringement, unfair competition and unjust enrichment under Tennessee

law; breach of contract arising under Tennessee law; declaratory judgment; violations of the

Florida Revised Limited Liability Act, Fla. Stat. § 605.0101 et seq.; and violations of the Texas

Business Organization Code, Tex. Bus. Orgs. § 1.001 et seq.

                             IV.      JURISDICTION AND VENUE

       36.     This Court has subject matter jurisdiction over this action under 18 U.S.C. § 1964

in that this case arises under the RICO Act, 18 U.S.C. § 1961 et seq., 15 U.S.C. § 1121 and 28

U.S.C. § 1338 in that this case arises under the Lanham Act, 15 U.S.C. § 1051 et seq.; 28 U.S.C.

§ 2201 et seq., in that this case arises under the Federal Declaratory Judgment Act, and 28 U.S.C.

§ 1331 as it involves a federal question.

       37.     This Court has subject matter jurisdiction over the unfair competition claims

herein under the provisions of 28 U.S.C. § 1338(b) in that said claims are joined with a

substantial and related claim under the RICO Act, 18 U.S.C. § 1961 et seq. and the Lanham Act,

15 U.S.C. § 1051 et seq.


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       38.     This Court has supplemental jurisdiction over the claims that arise under

Tennessee law pursuant to 28 U.S.C. § 1367(a) because they are substantially related to the

claims that arise under the RICO Act and the Lanham Act of the United States. Furthermore,

this Court has supplemental jurisdiction because both the state and federal claims are derived

from a common nucleus of operative facts and considerations of judicial economy dictate the

state and federal issues be consolidated for a single trial.

       39.     Upon information and belief, this Court has general personal jurisdiction over

Defendants based on their continuous and systematic minimum contacts with residents of

Tennessee, through the distribution and sale of their goods and services in Tennessee, because

they regularly transact business in this District, and/or have offered products into interstate

commerce through one or more interactive websites, and have caused injury in this District.

Upon information and belief, this Court also has specific personal jurisdiction over Defendants

based on their purposeful direction of their promotional and advertising activities and sales of

their goods and services to residents and customers in Tennessee, and through their contracting

with and purchasing goods from a Tennessee corporation.

       40.     Further, upon information and belief, Defendants have committed tortious acts

within the State of Tennessee and/or have committed tortious acts without the State of Tennessee

and regularly do or solicit business, engage in other persistent courses of conduct and/or derive

substantial revenue from products sold offered in the State of Tennessee and derive substantial

revenue from interstate commerce. In addition, ProCraft has been injured in this judicial district.

       41.     Further, this Court has personal jurisdiction under Tennessee’s long-arm statute,

Tenn. Code Ann. § 20-2-201 et seq., because, upon information and belief, (1) Defendants have

transacted business in Tennessee; (2) the tortious acts or omissions occurred in Tennessee; (3)


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the damages occurred in Tennessee to a corporation with its principal place of business in

Tennessee; and (4) jurisdiction based on Defendants’ contacts with Tennessee (including, but not

limited to, sales of products and services) is not inconsistent with the Constitution of the State of

Tennessee or the Constitution of the United States.

       42.     In addition to the other grounds for personal jurisdiction, Defendants are subject

to personal jurisdiction under 18 U.S.C. § 1965 because one or more of the Defendants have

clear and direct minimum contacts with Tennessee and this District in particular and given the

size of the enterprise, the near-nationwide pattern of racketeering and minimum contacts in the

United States generally, the ends of justice require that other Defendants residing in any other

district be brought before this Court and served with a summons.

       43.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to these claims arose in this District, and, upon information and

belief, Defendants are subject to personal jurisdiction pursuant to Tennessee’s long-arm statute,

Tenn. Code Ann. § 20-2-201 et seq.

                                 V.      THE CONTROVERSY

      A.     PROCRAFT’S BUSINESS IN THE KITCHEN AND BATH INDUSTRY

       44.     ProCraft is a cabinet and cabinet accessory manufacturer, and distributer based in

Nashville, Tennessee.

       45.     With over forty years of experience manufacturing cabinets, ProCraft has grown

into a major international cabinet supplier within the kitchen and bath industry.

       46.     ProCraft’s headquarters, showroom, and primary warehouse are located in

Nashville, Tennessee.

       47.     ProCraft’s manufacturing facility is located in China.


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          48.   ProCraft also maintains warehouse locations in Houston, Texas and Atlanta,

Georgia.

          49.   When customers purchase products from ProCraft, such orders are filled with

stock inventory and shipped from ProCraft’s warehouse (“warehouse orders”).

          50.   If custom or larger orders cannot be filled by ProcCraft’s in-stock inventory, such

orders are manufactured by ProCraft’s manufacturing facility in China and sent directly to the

customer (“container orders”).

          51.   Container orders can be ordered and purchased through ProCraft’s Nashville

office.

                     B.   THE PROCRAFT FAMILY OF TRADEMARKS

          52.   Commencing at least as early as January 15, 2010, ProCraft has used the

“PROCRAFT CABINETRY” mark continually nationwide in interstate commerce to identify

certain of its goods and services and to distinguish such goods and services from those offered

and provided by others.

          53.   Among other intellectual property holdings, ProCraft is the owner of a federal

trademark registration, U.S. Reg. No. 5,258,804, for the trademark PROCRAFT CABINETRY®

(the “PROCRAFT CABINETRY® Mark”) for use as a source and designation of origin in

connection with “Cabinets; Cabinets being furniture for residential and commercial buildings;

Kitchen Cabinets” (the “’804 Registration”). A true and correct copy of the ’804 Registration is

incorporated by reference and attached hereto as Exhibit 1.

          54.   The ’804 Registration is valid and subsisting and remains in full force and effect

as evidence of the validity thereof and of ProCraft’s exclusive right to own and use the

PROCRAFT CABINETRY® Mark in connection with the goods and services specified in the

’804 Registration.
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        55.    ProCraft is the owner of a federal trademark application, U.S. Application Serial

No. 87/427,749 for the trademark PROCRAFT CABINETRY PROFESSIONALLY CRAFTED

CABINETS and design depicted below (the “PROCRAFT Design Mark”), for use in connection

with “Cabinets; Cabinets being furniture for residential and commercial buildings; Kitchen

Cabinets” (the “’749 Application”).




        56.    The USPTO has published the ’749 Application for opposition. A true and

correct copy of the Notice of Publication for the ’749 Application is attached hereto as Exhibit

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        57.    ProCraft also has established, through continuous, long-term use in commerce

common law rights in the PROCRAFT CABINETRY Mark and PROCRAFT Design Mark, and

the use of he phrase “PROCRAFT” as a trade name or part of a trade name.

        58.    The afore-mentioned federally-registered and common law marks are hereinafter

referred to collectively as the “PROCRAFT Marks.”

        59.    ProCraft owns all right, interest, and title to the PROCRAFT Marks, including all

goodwill associated therewith and the right to sue for past, present, and future infringement.

        60.    ProCraft has continuously used the PROCRAFT Marks and in the United States

as a symbol of ProCraft as the source and origin for high quality cabinet products and

accessories.



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       61.     ProCraft’s products have been widely advertised or promoted and extensively

offered for sale throughout the United States, including, without limitation, within the State of

Tennessee.

       62.     ProCraft has expended considerable time, resources, and effort in promoting the

PROCRAFT Marks and developing substantial goodwill associated therewith.

       63.     The PROCRAFT Marks are suggestive and inherently distinctive when used in

conjunction with ProCraft’s goods.

       64.     Due to the continual use of the PROCRAFT Marks by ProCraft, the PROCRAFT

Marks have come to indicate a single source of ProCraft’s goods and services. The PROCRAFT

Marks have further come to indicate ProCraft as the single source of such quality goods.

       65.     As a result of the long and exclusive use by ProCraft of its PROCRAFT Marks,

the large sales under the PROCRAFT Marks, and the large amount of money spent or foregone

for advertising and promotion of its goods, the PROCRAFT Marks have become, through

widespread and favorable public acceptance and recognition, an exclusive asset of substantial

value as a symbol of ProCraft, its quality products, and its goodwill.

       66.     As a result of the long and exclusive use by ProCraft of its PROCRAFT Marks,

the large sales under the PROCRAFT Marks, and the large amount of money spent or foregone

for advertising and promotion of its goods, the PROCRAFT Marks have become famous through

the wide recognition of the general consuming public of the United States as a designation of the

source of goods of and originating from ProCraft.

       67.     ProCraft and its use of the PROCRAFT Marks in the kitchen and bath industry

are well-known.




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             C.      PROCRAFT’S CABINET PRODUCTS AND ACCESSORIES

       68.        ProCraft, under its PROCRAFT Marks and trade name, sells high quality cabinet

products and accessories in a variety of door styles and finishes, including, without limitation,

the following:

                  a. “Arlington Oatmeal;”

                  b. “Avalon Ashen;”

                  c. “Belmont Gibraltar Gray;”

                  d. “Liberty Shaker White;”

                  e. “Liberty Shaker Espresso;”

                  f. “Liberty Shaker Gray;”

                  g. “Portland Chestnut;”

                  h. “Saratoga Cinnamon;”

                  i. “Calumet Mocha;”

                  j. “Calumet Ivory;”

                  k. “Providence Espresso;”

                  l. “Providence White;” and

                  m. “Sonoma Espresso.”

The foregoing cabinet door style names shall be referred to hereinafter as the “ProCraft Product

Marks.”

       69.        ProCraft also offers for sale accessory products for use in connection with its

ProCraft Cabinetry® Products, including, but not limited to: blind corner pullout products,

dishware organizers, pullout products, trash organizers, pullout organizers, and roll out sink

trays, among other products.


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         70.    ProCraft’s cabinet products, in all door styles and finishes, and accessory products

shall be referred to collectively hereinafter as the “ProCraft Cabinetry® Products.” A true and

correct copy of select webpages from ProCraft’s website located at www.procraftcabinetry.com

are attached hereto as collective Exhibit 3.

         71.    ProCraft also offers various business opportunities for third parties looking to

partner with ProCraft to sell ProCraft Cabinetry® Products.

         72.    Specifically, ProCraft currently offers opportunities to serve as an authorized

dealer, distributor, designer, or sales representative for ProCraft, subject to specific minimum

requirements and other terms and conditions.

         73.    Those entities who do not meet ProCraft’s minimum requirements or do not

adhere to ProCraft’s terms and conditions will not be accepted by ProCraft to serve as an

authorized ProCraft business partner.

               D.     DEFENDANTS’ RELATIONSHIP WITH EACH OTHER

         74.    Upon information and belief, Defendants jointly own and/or operate an

unincorporated entity and/or maintain an unregistered association called “ProCraft Kitchen and

Bath.”

         75.    Upon information and belief, Defendants advertise and promote their infringing

and counterfeit products offered by “ProCraft Kitchen and Bath” under the word “Procraft”

and/or the following design mark (collectively, the “Infringing Design Mark” or the “Counterfeit

Mark”):




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1.      The ProCraft Kitchen Website

        76.   Upon information and belief, Defendants own and/or operate the website located

at www.procraftkitchenandbath.com (the “ProCraft Kitchen Website”).

        77.   According to the WHOIS registry, the ProCraft Kitchen Website was created on

January 24, 2017.       A true and correct copy of the WHOIS information for the

www.procraftkitchenandbath.com domain name is attached hereto as Exhibit 4.

        78.   Upon information and belief, Defendants have taken steps to intentionally shroud

their involvement in the operation of the ProCraft Kitchen Website from disclosure; specifically,

through utilizing “private registration” of its domain name through Contact Privacy, Inc.

(“Contact Privacy”).

        79.   Defendants’ use of a private registration through Contact Privacy shields its

identity and contact information public disclosure by replacing Defendants’ information in the

publicly available WHOIS directory with Contact Privacy’s contact information. See Exhibit 4.

        80.   The website located at the domain name www.procraftkitchenandbath.com directs

consumers to a webpage advertising the unauthorized and counterfeit PROCRAFT products

offered by Defendants. A true and correct copy of select webpages of the ProCraft Kitchen

Website is attached hereto as Exhibit 5.
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       81.    The ProCraft Kitchen Website claims that “ProCraft Kitchen and Bath” has

locations in Chicago, Illinois; Dallas, Texas; Houston, Texas; Seattle, Washington; and Deerfield

Beach, Florida. See Exhibit 5.

       82.    The ProCraft Kitchen Website lists the following address for its Chicago location:




       83.    The Chicago address listed on the ProCraft Kitchen Website is the same address

registered by Sweet Home for its registered agent.

       84.    According to the Office of the Illinois Secretary of State, Department of Business

Services database, Qingfen Chen serves as President of Sweet Home and Qiang (“Peter”) Huang

serves as Secretary and Registered Agent of Sweet Home.          A true and correct copy of a

screenshot of the corporation file detail report for Sweet Home accessed from the Illinois

Secretary of State, Department of Business Services database is attached hereto as Exhibit 6.

       85.    Upon information and belief, Jackey Lin also maintains an active role operating

Sweet Home as President and/or CEO.




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       86.       The ProCraft Kitchen Website lists the following address for its Dallas location:




See Exhibit 5.

       87.       The Dallas address listed on the ProCraft Kitchen Website is the same address

registered by PC Dallas with the Texas Secretary of State. A true and correct copy of a

screenshot of the business entity details for PC Dallas, available from the Texas Secretary of

State Business Organizations Inquiry database, is attached hereto as Exhibit 7.

       88.       According to PC Dallas’ Certificate of Formation, PC Dallas is governed by the

following Managing Members: ProCraft, Longrong Lin, Kevin Guo, Changguang Lin, Jia Liu,

Wenchen Chen Qiqi Jiang, Tao Zheng, Shaochun Lin, Shengquan Guo, and Changzhu Lin. A

true and correct copy of PC Dallas’ Certificate of Formation is attached hereto as Exhibit 8.

       89.       As described in Section V(D)(4)(c) infra, ProCraft was unaware of and did not

authorize its appointment as a Managing Member of PC Dallas and, as such, has not participated

in the operation of PC Dallas.




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         90.     The ProCraft Kitchen Website lists the following address for its Houston location:




See Exhibit 5.

         91.     The Houston address listed on the ProCraft Kitchen Website is the same address

registered by PC Houston with the Texas Secretary of State. A true and correct copy of a

screenshot of the business entity details for PC Houston, available from the Texas Secretary of

State Business Organizations Inquiry database, is attached hereto as Exhibit 9.

         92.     According to PC Houston’s Certificate of Formation, PC Dallas is governed by

the following Managing Members: ProCraft, Longrong Lin, Kevin Guo, Changguang Lin, Jia

Liu, Changzhu Lin, Qiqi Jiang, Tao Zheng, Shaochun Lin, Shengquan Guo, and Wenchen Chen.

A true and correct copy of PC Houston’s Certificate of Formation is attached hereto as Exhibit

10.

         93.     As described in Section V(D)(4)(d) infra, ProCraft was unaware of and did not

authorize its appointment as a Managing Member of PC Houston and, as such, has not

participated in the operation of PC Houston.




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       94.       The ProCraft Kitchen Website lists the following address for its Seattle location:




See Exhibit 5.

       95.       The Seattle address listed on the ProCraft Kitchen Website is the same address

registered by PC Seattle with the Washington Secretary of State. A true and correct copy of a

screenshot of the business entity details for PC Seattle, available from the Washington Secretary

of State, Corporations Registration database, is attached hereto as Exhibit 11.

       96.       According to the Washington Secretary of State, Corporations Registration

database, PC Seattle is governed by the following Governors: Tao Yu Zheng, Jia Liu, Qiqi Jiang,

and Wenchen Chen. See Exhibit 11.




                                                  22


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       97.       The ProCraft Kitchen Website lists the following address for its Florida location:




See Exhibit 5.

       98.       The Florida address listed on the ProCraft Kitchen Website is the same address

registered by PC Florida with the Florida Department of State, Division of Corporations. A true

and correct copy of a screenshot of the business entity details for PC Florida, available from the

Florida Department of State, Division of Corporations database, is attached hereto as Exhibit 12.

       99.       According to PC Florida’s Articles of Incorporation, the following Authorized

Members are authorized to manage PC Florida: ProCraft, Yongchun Yang, Shu Lin, Yao Zhao,

and Paul Chih Yang Lin. A true and correct copy of PC Florida’s Articles of Incorporation is

attached hereto as Exhibit 13.

       100.      As described in Section V(D)(4)(a) infra, ProCraft was unaware of and did not

authorize its appointment as an Authorized Member of PC Florida and, as such, has not

participated in the management of PC Florida.

       101.      ProCraft has not granted authorization to Defendants to purchase the

www.procraftkitchenandbath.com domain name.


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       102.      ProCraft has not granted authorization to Defendants to own and/or operate the

ProCraft Kitchen Website.

       103.      ProCraft has not granted authorization to use the PROCRAFT Marks on or to sell

ProCraft Cabinetry® Products through the ProCraft Kitchen Website.

       104.      Upon information and belief, the ProCraft Kitchen Website was designed to form

contacts with potential customers, including residents in this District.

       105.      Upon information and belief, Defendants operate and transact business through

the interactive ProCraft Kitchen Website, through which Defendants invite potential customers

from any city in the United States, including residents in this District, to submit their contact

information to request pricing on Defendants’ infringing and counterfeit products.




See Exhibit 5.

       106.      Upon information and belief, Defendants operate and transact business through

the interactive ProCraft Kitchen Website, through which Defendants invite potential customers

from any city in the United States, including residents in this District, to partner with Defendants
                                                 24


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to become a dealer, distributor, designer, sales representative for “ProCraft Kitchen and Bath.”

See Exhibit 5.

       107.      Upon information and belief, Defendants operate and transact business through

the interactive ProCraft Kitchen Website, through which Defendants accept online job

applications to become a sales representative for “ProCraft Kitchen and Bath.” See Exhibit 5.

       108.      Upon information and belief, the ProCraft Kitchen Website was designed to form

contacts with potential customers, claiming to hire “Sales Reps Nationwide” and inviting

potential customers, including residents in this District, to submit a “business inquiry form” in

order to receive training, sales support, and competitive compensation plans.




See Exhibit 5.

       109.      Upon information and belief, the ProCraft Kitchen Website was designed to form

contacts with potential customers, inviting them to “Call or email us to find out more information

about our product, or to talk to a designer about pricing and how to get a quote.” See Exhibit 5.

       110.      Upon information and belief, the ProCraft Kitchen Website was designed to form

contacts with potential customers, inviting them to “schedule appointments for our designers, or

to make an appointment for a measurement.” See Exhibit 5.

                                               25


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        111.   The ProCraft Kitchen Website also allows potential customers to find a “ProCraft

Kitchen and Bath” provider near the customers, including providers within the United States.

        112.   The ProCraft Kitchen Website does not direct potential customers to ProCraft or

any of the authorized providers to whom ProCraft distributes its ProCraft Cabinetry® Products.

        113.   Upon information and belief, Defendants advertise and offer infringing and

counterfeit products for sale in the United States through the interactive ProCraft Kitchen

Website.

2.      The PC Chicago Website

        114.   Upon information and belief, Defendants own and/or operate the website located

at cabinetsplacerandom.squarespace.com (the “PC Chicago Website”). A true and correct copy

of select webpages of the PC Chicago Website is attached hereto as Exhibit 14.

        115.   The PC Chicago Website utilizes the same design logo as the ProCraft Kitchen

Website:




See Exhibit 14.

        116.   The PC Chicago Website claims that “ProCraft Kitchen and Bath” has locations

in Chicago, Illinois; Dallas, Texas; Houston, Texas; Seattle, Washington; and Deerfield Beach,

Florida. See Exhibit 14.

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       117.    The PC Chicago Website lists the same addresses for its Chicago, Dallas,

Houston, Seattle, and Florida locations as the ProCraft Kitchen Website.

       118.    ProCraft has not granted authorization to Defendants to purchase the

cabinetsrandom.squarespace.com domain name.

       119.    ProCraft has not granted authorization to Defendants to own and/or operate the

PC Chicago Website.

       120.    ProCraft has not granted authorization to use the PROCRAFT Marks on or to sell

ProCraft Cabinetry® Products through the PC Chicago Website.

       121.    Upon information and belief, the PC Chicago Website was designed to form

contacts with potential customers, including residents in this District.

       122.    Upon information and belief, Defendants operate and transact business through

the interactive PC Chicago Website, through which Defendants invite potential customers from

any city in the United States, including residents in this District, to submit their contact

information to request pricing on Defendants’ infringing and counterfeit products.




See Exhibit 14.

                                                 27


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       123.    Upon information and belief, Defendants operate and transact business through

the interactive PC Chicago Website, through which Defendants invite potential customers from

any city in the United States, including residents in this District, to submit their contact

information and measurements to receive a pricing quote for Defendants’ infringing and

counterfeit products. See Exhibit 14.

       124.    Upon information and belief, Defendants operate and transact business through

the interactive PC Chicago Website, through which Defendants invite potential customers from

any city in the United States, including residents in this District, to start the “simple process” for

ordering Defendants’ infringing and counterfeit products online.




See Exhibit 14.

       125.    Upon information and belief, Defendants operate and transact business through

the interactive PC Chicago Website because, after a potential customer (including residents in

this District) starts the online ordering process on the PC Chicago Website, a “Sales Rep Will

Call you.”

                                                 28


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See Exhibit 14.

       126.    Upon information and belief, Defendants operate and transact business through

the interactive PC Chicago Website because, after a potential customer (including residents in

this District) starts the online ordering process, and after Defendants’ “Sales Reps” call potential

customers, “Our designers create 3D kitchen and quote payment and shipping & delivery.”




See Exhibit 14.

       127.    Upon information and belief, the PC Chicago Website was designed to form

contacts with potential customers. including residents in this District, inviting them to place

orders “by fax or email with your account in good standing[.]” See Exhibit 14.



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        128.   Upon information and belief, the PC Chicago Website was designed to form

contacts with potential customers, inviting them to “Call or email us to find out more information

about our product, or to talk to a designer about pricing and how to get a quote.” See Exhibit 14.

        129.   Upon information and belief, the PC Chicago Website was designed to form

contacts with potential customers, inviting them to “schedule appointments for our designers, or

to make an appointment for a measurement.” See Exhibit 14.

        130.   The PC Chicago Website also allows potential customers to find a “ProCraft

Kitchen and Bath” provider near the customers, including providers within the United States.

        131.   The PC Chicago Website does not direct potential customers to ProCraft or any of

the authorized providers to whom ProCraft distributes its ProCraft Cabinetry® Products.

        132.   Upon information and belief, Defendants advertise and offer infringing and

counterfeit products for sale in the United States through the interactive PC Chicago Website.

3.      The PC Miami Website

        133.   Upon information and belief, Defendants own and/or operate the website located

at www.procraftmiami.com (the “PC Miami Website”). A true and correct copy of select

webpages of the PC Miami Website is attached hereto as Exhibit 15.

        134.   The PC Miami Website lists the same contact address as PC Florida, listed on the

ProCraft Kitchen Website.

        135.   ProCraft has not granted authorization to Defendants to purchase the

www.procraftmiami.com domain name.

        136.   ProCraft has not granted authorization to Defendants to own and/or operate the

PC Miami Website.




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       137.    ProCraft has not granted authorization to use the PROCRAFT Marks on or to sell

ProCraft Cabinetry® Products through the PC Miami Website.

       138.    Upon information and belief, the PC Miami Website was designed to form

contacts with potential customers, including residents in this District.

       139.    Upon information and belief, Defendants operate and transact business through

the interactive PC Miami Website, through which Defendants invite potential customers from

any city in the United States, including residents in this District, to submit their contact

information to request pricing on Defendants’ infringing and counterfeit products.




See Exhibit 15.

       140.    Upon information and belief, the PC Miami Website was designed to form

contacts with potential customers, inviting them to call or email Defendants “to take your kitchen

or bathroom remodeling questions.” See Exhibit 15.

       141.    The PC Miami Website also allows potential customers to find a “ProCraft

Kitchen and Bath” provider near the customers, including providers within the United States.




                                                 31


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        142.   The PC Miami Website does not direct potential customers to ProCraft or any of

the authorized providers to whom ProCraft distributes its ProCraft Cabinetry® Products.

        143.   Upon information and belief, Defendants advertise and offer infringing and

counterfeit products for sale in the United States through the interactive PC Miami Website.

4.      The PC Urbandale Website

        144.   Upon information and belief, Defendants own and/or operate the website located

at www.gcraftcabinetry.com (the “PC Urbandale Website”). A true and correct copy of select

webpages of the PC Urbandale Website is attached hereto as Exhibit 16.

        145.   The PC Urbandale Website utilizes the same design logo as the ProCraft Kitchen

Website:




See Exhibit 16.

        146.   The PC Urbandale Website states that “ProCraft Cabinetry Des Moines is an

exclusive dealer of ProCraft Cabinetry[.]” See Exhibit 16.

        147.   ProCraft has not entered into an exclusive dealership agreement with any entity

located in Urbandale, Iowa.

        148.   ProCraft has not authorized the entity(ies) operating the PC Urbandale Website to

use the PROCRAFT Marks on or to sell ProCraft Cabinetry® Products through the PC

Urbandale Website.

                                               32


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         149.   Upon information and belief, PC Urbandale and the PC Urbandale Website are

owned and/or operated in concert by Defendants, as evidenced by the PC Urbandale Website’s

use of the same unauthorized design mark as used on the PC Urbandale Website.

         150.   ProCraft has not granted authorization to Defendants to own and/or operate the

PC Urbandale Website.

         151.   ProCraft has not granted authorization to Defendants to use the PROCRAFT

Marks on or to sell ProCraft Cabinetry® Products through the PC Urbandale Website.

         152.   Upon information and belief, the PC Urbandale Website was designed to form

contacts with potential customers, including residents in this District.

         153.   Upon information and belief, Defendants operate and transact business through

the interactive PC Urbandale Website, through which they could accept orders of their products

from any person in any city in the United States, including residents in this District. See Exhibit

16.

         154.   Upon information and belief, through their interactive PC Urbandale Website,

Defendants transacted business, both accepting and processing orders of their products, including

without limitation, their “”DOUBLE 50/50 Sink” and “Standard 10 x 10 Cabinets, Solid Wood,

Avalon Ashen Color.”




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See Exhibit 16.

       155.   Upon information and belief, Defendants operate and transact business through

the interactive PC Urbandale Website, through which Defendants invite potential customers from

any city in the United States, including residents in this District, to submit their contact

information to request pricing on Defendants’ infringing and counterfeit products.




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See Exhibit 16.

       156.    Upon information and belief, Defendants operate and transact business through

the interactive PC Urbandale Website, through which Defendants invite potential customers to

schedule online a “FREE design consultation” or “FREE in home measurement.”




See Exhibit 16.

       157.    Upon information and belief, Defendants operate and transact business through

the interactive PC Chicago Website, through which Defendants invite potential customers from

any city in the United States, including residents in this District, to start the process for ordering

Defendants’ infringing and counterfeit products online.




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See Exhibit 16.

       158.   Upon information and belief, Defendants operate and transact business through

the interactive PC Urbandale Website because, after a potential customer (including residents in

this District) starts the online ordering process on the PC Urbandale Website, a “Sales Rep Will

Call You.”




See Exhibit 16.

       159.   Upon information and belief, Defendants operate and transact business through

the interactive PC Urbandale Website because, after a potential customer (including residents in
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this District) starts the online ordering process, and after Defendants’ “Sales Reps” call potential

customers, “Our Designers Create 3D kitchen + Quote Payment and Shipping & Delivery.”




See Exhibit 16.

       160.    Upon information and belief, the PC Urbandale Website was designed to form

contacts with potential customers, inviting them to “call or email us” to “speak with a sale or

designer[.]” See Exhibit 16.

       161.    The PC Urbandale Website also allows potential customers to find a “ProCraft

Kitchen and Bath” provider near the customers, including providers within the United States.

       162.    The PC Urbandale Website does not direct potential customers to ProCraft or any

of the authorized providers to whom ProCraft distributes its ProCraft Cabinetry® Products.

       163.    Upon information and belief, Defendants advertise and offer infringing and

counterfeit products for sale in the United States through the interactive PC Urbandale Website.


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5.      The PC Kentucky Website

        164.   Upon information and belief, Defendants own and/or operate the website located

at www.granitecincinnati.com (the “PC Kentucky Website”). A true and correct copy of select

webpages of the PC Kentucky Website is attached hereto as Exhibit 17.

        165.   The PC Kentucky Website states that it maintains a “Kentucky Showroom” under

the name “ProCraft Cabinetry & Granite Depot.”




See Exhibit 17.

        166.   ProCraft has not entered into an exclusive dealership agreement with any entity

located in Florence, Kentucky.

        167.   ProCraft has not authorized the entity(ies) operating the PC Kentucky Website to

use the PROCRAFT Marks on or to sell ProCraft Cabinetry® Products through the PC Kentucky

Website.

        168.   Upon information and belief, CGD, PC Kentucky, and the PC Kentucky Website

are owned and/or operated in concert by Defendants.

        169.   ProCraft has not granted authorization to Defendants to own and/or operate the

PC Kentucky Website.

        170.   ProCraft has not granted authorization to Defendants to use the PROCRAFT

Marks on or to sell ProCraft Cabinetry® Products through the PC Kentucky Website.



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       171.    Upon information and belief, the PC Kentucky Website was designed to form

contacts with potential customers, including residents in this District.

       172.    Upon information and belief, Defendants operate and transact business through

the interactive PC Kentucky Website, through which Defendants invite potential customers from

any city in the United States, including residents in this District, to submit their contact

information to request information on Defendants’ infringing and counterfeit products.




See Exhibit 17.

       173.    The PC Kentucky Website does not direct potential customers to ProCraft or any

of the authorized providers to whom ProCraft distributes its ProCraft Cabinetry® Products.

       174.    Upon information and belief, Defendants advertise and offer infringing and

counterfeit products for sale in the United States through the interactive PC Kentucky Website.

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6.        The Individual Defendants’ Participation In Defendants’ Wrongful Activity

          175.   Upon information and belief, in his role as President of Sweet Home and

individually, Qingfen Chen was and is actively and personally involved in the wrongful acts

giving rise to this action.

          176.   Upon information and belief, Qingfen Chen was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

          177.   Upon information and belief, Qingfen Chen personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity. As a result, Qingfen

Chen is personally liable for the wrongful acts he has committed as alleged herein. Further, as

President of Sweet Home, Qingfen Chen has a direct financial interest in Sweet Home, and the

right and ability to supervise Sweet Home’s activities, including the wrongful acts alleged

herein.

          178.   Upon information and belief, Qingfen Chen knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

          179.   Upon information and belief, Qingfen Chen directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

          180.   Through his actions alleged herein, Qingfen Chen authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

          181.   Upon information and belief, Qingfen Chen also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,


                                                40


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refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

        182.    Therefore, Qingfen Chen, in his capacity as President of Sweet Home, exercised

control over Defendants and their wrongful acts and is personally liable for his participation.

        183.    Upon information and belief, Qingfen Chen had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        184.    Upon information and belief, in his role as Secretary of Sweet Home and

individually, Peter Huang was and is actively and personally involved in the wrongful acts

giving rise to this action.

        185.    Upon information and belief, Peter Huang was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

        186.    Upon information and belief, Peter Huang personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Peter Huang is

personally liable for the wrongful acts he has committed as alleged herein. Further, as Secretary

of Sweet Home, Peter Huang has a direct financial interest in Sweet Home and the right and

ability to supervise Sweet Home’s activities, including the wrongful acts alleged herein.

        187.    Upon information and belief, Peter Huang knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

        188.    Upon information and belief, Peter Huang directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        189.    Through his actions alleged herein, Peter Huang authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.


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        190.    Upon information and belief, Peter Huang also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

        191.    Therefore, Peter Huang, in his capacity as Secretary of Sweet Home, exercised

control over Defendants and their wrongful acts and is personally liable for his participation.

        192.    Upon information and belief, Peter Huang had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        193.    Upon information and belief, in his role as President and CEO of Sweet Home

and individually, Jackey Lin was and is actively and personally involved in the wrongful acts

giving rise to this action.

        194.    Upon information and belief, Jackey Lin was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

        195.    Upon information and belief, Jackey Lin personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Jackey Lin is

personally liable for the wrongful acts he has committed as alleged herein. Further, as Secretary

of Sweet Home, Jackey Lin has a direct financial interest in Sweet Home and the right and

ability to supervise Sweet Home’s activities, including the wrongful acts alleged herein.

        196.    Upon information and belief, Jackey Lin knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.


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        197.     Upon information and belief, Jackey Lin directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        198.     Through his actions alleged herein, Jackey Lin authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

        199.     Upon information and belief, Jackey Lin also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

        200.     Therefore, Jackey Lin, in his capacity as President and CEO of Sweet Home,

exercised control over Defendants and their wrongful acts and is personally liable for his

participation.

        201.     Upon information and belief, Jackey Lin had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        202.     Upon information and belief, in his role as an Authorized Member of PC Florida

and individually, Yongchun Yang was and is actively and personally involved in the wrongful

acts giving rise to this action.

        203.     Upon information and belief, Yongchun Yang was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

        204.     Upon information and belief, Yongchun Yang personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity.         As a result,

Yongchun Yang is personally liable for the wrongful acts he has committed as alleged herein.


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Further, as an Authorized Member of PC Florida, Yongchun Yang has a direct financial interest

in PC Florida and the right and ability to supervise PC Florida’s activities, including the

wrongful acts alleged herein.

         205.    Upon information and belief, Yongchun Yang knowingly, personally, and

actively participated in, authorized, ordered, controlled, participated, approved, or ratified

Defendants’ infringement of the PROCRAFT Marks.

         206.    Upon information and belief, Yongchun Yang directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

         207.    Through his actions alleged herein, Yongchun Yang authorized, ordered,

controlled, participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT

Marks.

         208.    Upon information and belief, Yongchun Yang also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

         209.    Therefore, Yongchun Yang, in his capacity as Authorized Member of PC Florida,

exercised control over Defendants and their wrongful acts and is personally liable for his

participation.

         210.    Upon information and belief, Yongchun Yang had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.




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        211.    Upon information and belief, in his role as an Authorized Member of PC Florida

and individually, Shu Lin was and is actively and personally involved in the wrongful acts giving

rise to this action.

        212.    Upon information and belief, Shu Lin was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

        213.    Upon information and belief, Shu Lin personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Shu Lin is

personally liable for the wrongful acts he has committed as alleged herein. Further, as an

Authorized Member of PC Florida, Shu Lin has a direct financial interest in PC Florida and the

right and ability to supervise PC Florida’s activities, including the wrongful acts alleged herein.

        214.    Upon information and belief, Shu Lin knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

        215.    Upon information and belief, Shu Lin directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        216.    Through his actions alleged herein, Shu Lin authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

        217.    Upon information and belief, Shu Lin also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks


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        218.     Therefore, Shu Lin, in his capacity as Authorized Member of PC Florida,

exercised control over Defendants and their wrongful acts and is personally liable for his

participation.

        219.     Upon information and belief, Shu Lin had and continues to have a direct financial

interest in Defendants’ infringement of the PROCRAFT Marks.

        220.     Upon information and belief, in his role as an Authorized Member of PC Florida

and individually, Yao Zhao was and is actively and personally involved in the wrongful acts

giving rise to this action.

        221.     Upon information and belief, Yao Zhao was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

        222.     Upon information and belief, Yao Zhao personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Yao Zhao is

personally liable for the wrongful acts he has committed as alleged herein. Further, as an

Authorized Member of PC Florida, Yao Zhao has a direct financial interest in PC Florida and the

right and ability to supervise PC Florida’s activities, including the wrongful acts alleged herein.

        223.     Upon information and belief, Yao Zhao knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

        224.     Upon information and belief, Yao Zhao directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        225.     Through his actions alleged herein, Yao Zhao authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.




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          226.   Upon information and belief, Yao Zhao also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

          227.   Therefore, Yao Zhao, in his capacity as Authorized Member of PC Florida,

exercised control over Defendants and their wrongful acts and is personally liable for his

participation.

          228.   Upon information and belief, Yao Zhao had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

          229.   Upon information and belief, in his role as an Authorized Member of PC Florida

and individually, Xiguang Tang was and is actively and personally involved in the wrongful acts

giving rise to this action.

          230.   Upon information and belief, Xiguang Tang was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

          231.   Upon information and belief, Xiguang Tang personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity. As a result, Xiguang

Tang is personally liable for the wrongful acts his has committed as alleged herein. Further, as

an Authorized Member of PC Florida, Xiguang Tang has a direct financial interest in PC Florida

and the right and ability to supervise PC Florida’s activities, including the wrongful acts alleged

herein.




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       232.      Upon information and belief, Xiguang Tang knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

       233.      Upon information and belief, Xiguang Tang directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

       234.      Through his actions alleged herein, Xiguang Tang authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

       235.      Upon information and belief, Xiguang Tang also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

       236.      Therefore, Xiguang Tang, in his capacity as Authorized Member of PC Florida,

exercised control over Defendants and their wrongful acts and is personally liable for his

participation.

       237.      Upon information and belief, Xiguang Tang had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

       238.      Upon information and belief, in his role as an Authorized Member and Director of

Operations of PC Florida and individually, Paul Chih Yang Lin was and is actively and

personally involved in the wrongful acts giving rise to this action.

       239.      Upon information and belief, Paul Chih Yang Lin was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.


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         240.    Upon information and belief, Paul Chih Yang Lin personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity. As a result, Paul

Chih Yang Lin is personally liable for the wrongful acts he has committed as alleged herein.

Further, as an Authorized Member of PC Florida, Paul Chih Yang Lin has a direct financial

interest in PC Florida and the right and ability to supervise PC Florida’s activities, including the

wrongful acts alleged herein.

         241.    Upon information and belief, Paul Chih Yang Lin knowingly, personally, and

actively participated in, authorized, ordered, controlled, participated, approved, or ratified

Defendants’ infringement of the PROCRAFT Marks.

         242.    Upon information and belief, Paul Chih Yang Lin directed, controlled, and/or

ordered Defendants’ infringement of the PROCRAFT Marks.

         243.    Through his actions alleged herein, Paul Chih Yang Lin authorized, ordered,

controlled, participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT

Marks.

         244.    Upon information and belief, Paul Chih Yang Lin also was personally involved in

the decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

         245.    Therefore, Paul Chih Yang Lin, in his capacity as Authorized Member of PC

Florida, exercised control over Defendants and their wrongful acts and is personally liable for his

participation.


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       246.    Upon information and belief, Paul Chih Yang Lin had and continues to have a

direct financial interest in Defendants’ infringement of the PROCRAFT Marks.

       247.    Upon information and belief, in his role as an Governor of PC Seattle, Organizer

and Managing Member of PC Dallas, Organizer, President, and Managing Member of PC

Houston, and individually, Tao Yu Zheng was and is actively and personally involved in the

wrongful acts giving rise to this action.

       248.    Upon information and belief, Tao Yu Zheng was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

       249.    Upon information and belief, Tao Yu Zheng personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity. As a result, Tao Yu

Zheng is personally liable for the wrongful acts he has committed as alleged herein. Further, as a

Governor of PC Seattle, Organizer and Managing Member of PC Dallas, and Organizer,

President, and Managing Member of PC Houston, Tao Yu Zheng has a direct financial interest in

PC Seattle, PC Dallas, and PC Houston, and the right and ability to supervise PC Seattle’s, PC

Dallas’, and PC Houston’s activities, including the wrongful acts alleged herein.

       250.    Upon information and belief, Tao Yu Zheng knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

       251.    Upon information and belief, Tao Yu Zheng directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

       252.    Through his actions alleged herein, Tao Yu Zheng authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.




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        253.    Upon information and belief, Tao Yu Zheng also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

        254.    Therefore, Tao Yu Zheng, in his capacity as a Governor of PC Seattle, Organizer

and Managing Member of PC Dallas, and Organizer, President, and Managing Member of PC

Houston, exercised control over Defendants and their wrongful acts and is personally liable for

his participation.

        255.    Upon information and belief, Tao Yu Zheng had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        256.    Upon information and belief, in his role as a Governor of PC Seattle, Director and

Manager of PC Dallas, and Managing Member of PC Houston, and individually, Jia Liu was and

is actively and personally involved in the wrongful acts giving rise to this action.

        257.    Upon information and belief, Jia Liu was and is a moving, active, conscious force

behind Defendants’ infringement of the PROCRAFT Marks.

        258.    Upon information and belief, Jia Liu personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Jia Liu is

personally liable for the wrongful acts he has committed as alleged herein.            Further, as a

Governor of PC Seattle, Director and Manager of PC Dallas, and Managing Member of PC

Houston, Jia Liu has a direct financial interest in PC Seattle, PC Dallas, and PC Houston, and the




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right and ability to supervise PC Seattle’s, PC Dallas’, and PC Houston’s activities, including the

wrongful acts alleged herein.

       259.    Upon information and belief, Jia Liu knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

       260.    Upon information and belief, Jia Liu directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

       261.    Through his actions alleged herein, Jia Liu authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

       262.    Upon information and belief, Jia Liu also was personally involved in the decision

to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

       263.    Therefore, Jia Liu, in his capacity as a Governor of PC Seattle, Director and

Manager of PC Dallas, and Managing Member of PC Houston, exercised control over

Defendants and their wrongful acts and is personally liable for his participation.

       264.    Upon information and belief, Jia Liu had and continues to have a direct financial

interest in Defendants’ infringement of the PROCRAFT Marks.

       265.    Upon information and belief, in his role as a Governor of PC Seattle, Managing

Member of PC Dallas, and Managing Member of PC Houston, and individually, Qiqi Jiang was

and is actively and personally involved in the wrongful acts giving rise to this action.


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       266.    Upon information and belief, Qiqi Jiang was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

       267.    Upon information and belief, Qiqi Jiang personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result Qiqi Jiang is

personally liable for the wrongful acts he has committed as alleged herein.          Further, as a

Governor of PC Seattle, Managing Member of PC Dallas, and Managing Member of PC

Houston, Qiqi Jiang has a direct financial interest in PC Seattle, PC Dallas, and PC Houston, and

the right and ability to supervise PC Seattle’s, PC Dallas’, and PC Houston’s activities, including

the wrongful acts alleged herein.

       268.    Upon information and belief, Qiqi Jiang knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

       269.    Upon information and belief, Qiqi Jiang directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

       270.    Through his actions alleged herein, Qiqi Jiang authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

       271.    Upon information and belief, Qiqi Jiang also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks




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       272.    Therefore, Qiqi Jiang, in his capacity as a Governor of PC Seattle, Managing

Member of PC Dallas, and Managing Member of PC Houston, exercised control over

Defendants and their wrongful acts and is personally liable for his participation.

       273.    Upon information and belief, Qiqi Jiang had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

       274.    Upon information and belief, in his role as a Governor of PC Seattle, Managing

Member of PC Dallas, and Managing Member of PC Houston, and individually, Wenchen Chen

was and is actively and personally involved in the wrongful acts giving rise to this action.

       275.    Upon information and belief, Wenchen Chen was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

       276.    Upon information and belief, Wenchen Chen personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity. As a result, Wenchen

Chen is personally liable for the wrongful acts he has committed as alleged herein. Further, as a

Governor of PC Seattle, Managing Member of PC Dallas, and Managing Member of PC

Houston, Wenchen Chen has a direct financial interest in PC Seattle, PC Dallas, and PC

Houston, and the right and ability to supervise PC Seattle’s, PC Dallas’, and PC Houston’s

activities, including the wrongful acts alleged herein.

       277.    Upon information and belief, Wenchen Chen knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

       278.    Upon information and belief, Wenchen Chen directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.




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         279.   Through his actions alleged herein, Wenchen Chen authorized, ordered,

controlled, participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT

Marks.

         280.   Upon information and belief, Wenchen Chen also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

         281.   Therefore, Wenchen Chen, in his capacity as a Governor of PC Seattle, Managing

Member of PC Dallas, and Managing Member of PC Houston, exercised control over

Defendants and their wrongful acts and is personally liable for his participation.

         282.   Upon information and belief, Wenchen Chen had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

         283.   Upon information and belief, in his role as a Managing Member of PC Dallas, and

Managing Member of PC Houston, and individually, Longrong Lin was and is actively and

personally involved in the wrongful acts giving rise to this action.

         284.   Upon information and belief, Longrong Lin was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

         285.   Upon information and belief, Longrong Lin personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Longrong Lin is

personally liable for the wrongful acts he has committed as alleged herein.          Further, as a

Managing Member of PC Dallas and Managing Member of PC Houston, Longrong Lin has a


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   Case 3:17-cv-01392 Document 1 Filed 10/19/17 Page 55 of 138 PageID #: 55
direct financial interest in PC Dallas and PC Houston, and the right and ability to supervise PC

Dallas’ and PC Houston’s activities, including the wrongful acts alleged herein.

        286.    Upon information and belief, Longrong Lin knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

        287.    Upon information and belief, Longrong Lin directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        288.    Through his actions alleged herein, Longrong Lin authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

        289.    Upon information and belief, Longrong Lin also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

        290.    Therefore, Longrong Lin, in his capacity as a Managing Member of PC Dallas

and Managing Member of PC Houston, exercised control over Defendants and their wrongful

acts and is personally liable for his participation.

        291.    Upon information and belief, Longrong Lin had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        292.    Upon information and belief, in his role as a Managing Member of PC Dallas, and

Managing Member of PC Houston, and individually, Kevin Guo was and is actively and

personally involved in the wrongful acts giving rise to this action.


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       293.    Upon information and belief, Kevin Guo was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

       294.    Upon information and belief, Kevin Guo personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Kevin Guo is

personally liable for the wrongful acts he has committed as alleged herein.         Further, as a

Managing Member of PC Dallas and Managing Member of PC Houston, Kevin Guo has a direct

financial interest in PC Dallas and PC Houston, and the right and ability to supervise PC Dallas’

and PC Houston’s activities, including the wrongful acts alleged herein.

       295.    Upon information and belief, Kevin Guo knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

       296.    Upon information and belief, Kevin Guo directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

       297.    Through his actions alleged herein, Kevin Guo authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

       298.    Upon information and belief, Kevin Guo also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks




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          299.   Therefore, Kevin Guo, in his capacity as a Managing Member of PC Dallas and

Managing Member of PC Houston, exercised control over Defendants and their wrongful acts

and is personally liable for his participation.

          300.   Upon information and belief, Kevin Guo had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

          301.   Upon information and belief, in his role as a Managing Member of PC Dallas, and

Managing Member of PC Houston, and individually, Changguang Lin was and is actively and

personally involved in the wrongful acts giving rise to this action.

          302.   Upon information and belief, Changguang Lin was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

          303.   Upon information and belief, Changguang Lin personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity.        As a result,

Changguang Lin is personally liable for the wrongful acts he has committed as alleged herein.

Further, as a Managing Member of PC Dallas and Managing Member of PC Houston,

Changguang Lin has a direct financial interest in PC Dallas and PC Houston, and the right and

ability to supervise PC Dallas’ and PC Houston’s activities, including the wrongful acts alleged

herein.

          304.   Upon information and belief, Changguang Lin knowingly, personally, and

actively participated in, authorized, ordered, controlled, participated, approved, or ratified

Defendants’ infringement of the PROCRAFT Marks.

          305.   Upon information and belief, Changguang Lin directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.




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         306.   Through his actions alleged herein, Changguang Lin authorized, ordered,

controlled, participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT

Marks.

         307.   Upon information and belief, Changguang Lin also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

         308.   Therefore, Changguang Lin, in his capacity as a Managing Member of PC Dallas

and Managing Member of PC Houston, exercised control over Defendants and their wrongful

acts and is personally liable for his participation.

         309.   Upon information and belief, Changguang Lin had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

         310.   Upon information and belief, in his role as a Managing Member of PC Dallas, and

Managing Member of PC Houston, and individually, Shaochun Lin was and is actively and

personally involved in the wrongful acts giving rise to this action.

         311.   Upon information and belief, Shaochun Lin was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

         312.   Upon information and belief, Shaochun Lin personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Shaochun Lin is

personally liable for the wrongful acts he has committed as alleged herein.         Further, as a

Managing Member of PC Dallas and Managing Member of PC Houston, Shaochun Lin has a


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   Case 3:17-cv-01392 Document 1 Filed 10/19/17 Page 59 of 138 PageID #: 59
direct financial interest in PC Dallas and PC Houston, and the right and ability to supervise PC

Dallas’ and PC Houston’s activities, including the wrongful acts alleged herein.

        313.    Upon information and belief, Shaochun Lin knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

        314.    Upon information and belief, Shaochun Lin directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        315.    Through his actions alleged herein, Shaochun Lin authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

        316.    Upon information and belief, Shaochun Lin also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

        317.    Therefore, Shaochun Lin, in his capacity as a Managing Member of PC Dallas

and Managing Member of PC Houston, exercised control over Defendants and their wrongful

acts and is personally liable for his participation.

        318.    Upon information and belief, Shaochun Lin had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        319.    Upon information and belief, in his role as a Managing Member of PC Dallas, and

Managing Member of PC Houston, and individually, Shengquan Guo was and is actively and

personally involved in the wrongful acts giving rise to this action.


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          320.   Upon information and belief, Shengquan Guo was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

          321.   Upon information and belief, Shengquan Guo personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity.         As a result,

Shengquan Guo is personally liable for the wrongful acts he has committed as alleged herein.

Further, as a Managing Member of PC Dallas and Managing Member of PC Houston,

Shengquan Guo has a direct financial interest in PC Dallas and PC Houston, and the right and

ability to supervise PC Dallas’ and PC Houston’s activities, including the wrongful acts alleged

herein.

          322.   Upon information and belief, Shengquan Guo knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

          323.   Upon information and belief, Shengquan Guo directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

          324.   Through his actions alleged herein, Shengquan Guo authorized, ordered,

controlled, participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT

Marks.

          325.   Upon information and belief, Shengquan Guo also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks


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        326.    Therefore, Shengquan Guo, in his capacity as a Managing Member of PC Dallas

and Managing Member of PC Houston, exercised control over Defendants and their wrongful

acts and is personally liable for his participation.

        327.    Upon information and belief, Shengquan Guo had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        328.    Upon information and belief, in his role as a Managing Member of PC Dallas, and

Managing Member of PC Houston, and individually, Changzhu Lin was and is actively and

personally involved in the wrongful acts giving rise to this action.

        329.    Upon information and belief, Changzhu Lin was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

        330.    Upon information and belief, Changzhu Lin personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity.        As a result,

Changzhu Lin is personally liable for the wrongful acts he has committed as alleged herein.

Further, as a Managing Member of PC Dallas and Managing Member of PC Houston, Changzhu

Lin has a direct financial interest in PC Dallas and PC Houston, and the right and ability to

supervise PC Dallas’ and PC Houston’s activities, including the wrongful acts alleged herein.

        331.    Upon information and belief, Changzhu Lin knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

        332.    Upon information and belief, Changzhu Lin directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        333.    Through his actions alleged herein, Changzhu Lin authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.


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          334.   Upon information and belief, Changzhu Lin also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

          335.   Therefore, Changzhu Lin, in his capacity as a Managing Member of PC Dallas

and Managing Member of PC Houston, exercised control over Defendants and their wrongful

acts and is personally liable for his participation.

          336.   Upon information and belief, Changzhu Lin had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

          337.   Upon information and belief, in her role as Organizer and Owner of CGD, Qiao

Yun Huang was and is actively and personally involved in the wrongful acts giving rise to this

action.

          338.   Upon information and belief, Qiao Yun Huang was and is a moving, active,

conscious force behind Defendants’ infringement of the PROCRAFT Marks.

          339.   Upon information and belief, Qiao Yun Huang personally took part in, ratified

and/or directed others to engage in the infringing and/or wrongful activity. As a result, Qiao Yun

Huang is personally liable for the wrongful acts she has committed as alleged herein. Further, as

Organizer and Owner of CGD, Qiao Yun Huang has a direct financial interest in CGD, and the

right and ability to supervise CGD’s activities, including the wrongful acts alleged herein.




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         340.     Upon information and belief, Qiao Yun Huang knowingly, personally, and

actively participated in, authorized, ordered, controlled, participated, approved, or ratified

Defendants’ infringement of the PROCRAFT Marks.

         341.     Upon information and belief, Qiao Yun Huang directed, controlled, and/or

ordered Defendants’ infringement of the PROCRAFT Marks.

         342.     Through her actions alleged herein, Qiao Yun Huang authorized, ordered,

controlled, participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT

Marks.

         343.     Upon information and belief, Qiao Yun Huang also was personally involved in

the decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

         344.     Therefore, Qiao Yun Huang, in her capacity as Organizer and Owner of CGD,

exercised control over Defendants and their wrongful acts and is personally liable for her

participation.

         345.     Upon information and belief, Qiao Yun Huang had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

         346.     Upon information and belief, in her role as Organizer and Member of PC

Kentucky, Qiao Hunt was and is actively and personally involved in the wrongful acts giving rise

to this action.




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       347.    Upon information and belief, Qiao Hunt was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

       348.    Upon information and belief, Qiao Hunt personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Qiao Hunt is

personally liable for the wrongful acts she has committed as alleged herein.          Further, as

Organizer and Member of PC Kentucky, Qiao Hunt has a direct financial interest in Organizer

and Member of PC Kentucky, and the right and ability to supervise Organizer and Member of

PC Kentucky’s activities, including the wrongful acts alleged herein.

       349.    Upon information and belief, Qiao Hunt knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

       350.    Upon information and belief, Qiao Hunt directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

       351.    Through her actions alleged herein, Qiao Hunt authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.

       352.    Upon information and belief, Qiao Hunt also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks




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        353.     Therefore, Qiao Hunt, in her capacity as Organizer and Member of PC Kentucky,

exercised control over Defendants and their wrongful acts and is personally liable for her

participation.

        354.     Upon information and belief, Qiao Hunt had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

        355.     Upon information and belief, in his role as Organizer and Member of PC

Kentucky, Derick Hunt was and is actively and personally involved in the wrongful acts giving

rise to this action.

        356.     Upon information and belief, Derick Hunt was and is a moving, active, conscious

force behind Defendants’ infringement of the PROCRAFT Marks.

        357.     Upon information and belief, Derick Hunt personally took part in, ratified and/or

directed others to engage in the infringing and/or wrongful activity. As a result, Derick Hunt is

personally liable for the wrongful acts he has committed as alleged herein. Further, as Organizer

and Member of PC Kentucky, Derick Hunt has a direct financial interest in Organizer and

Member of PC Kentucky, and the right and ability to supervise Organizer and Member of PC

Kentucky’s activities, including the wrongful acts alleged herein.

        358.     Upon information and belief, Derick Hunt knowingly, personally, and actively

participated in, authorized, ordered, controlled, participated, approved, or ratified Defendants’

infringement of the PROCRAFT Marks.

        359.     Upon information and belief, Derick Hunt directed, controlled, and/or ordered

Defendants’ infringement of the PROCRAFT Marks.

        360.     Through his actions alleged herein, Derick Hunt authorized, ordered, controlled,

participated, and/or ratified Defendants’ acts of infringement of the PROCRAFT Marks.


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        361.    Upon information and belief, Derick Hunt also was personally involved in the

decision to exploit and usurp ProCraft’s valuable goodwill by engaging in open and notorious

infringement of the PROCRAFT Marks, copying ProCraft’s website design, content, and

advertising materials, targeting ProCraft’s existing and potential customers in the United States,

refusing to pay for ProCraft Cabinetry® Products received, circumventing ProCraft’s exclusive

dealer channels and selling counterfeit products under the PROCRAFT Marks

        362.    Therefore, Derick Hunt, in his capacity as Organizer and Member of PC

Kentucky, exercised control over Defendants and their wrongful acts and is personally liable for

his participation.

        363.    Upon information and belief, Derick Hunt had and continues to have a direct

financial interest in Defendants’ infringement of the PROCRAFT Marks.

           D.        DEFENDANT’S WANTON, KNOWING, AND INTENTIONAL
                               UNLAWFUL CONDUCT

1.      Factual Allegations Common To All RICO Counts

        364.    Defendants are individual persons or legal entities that are capable and do hold

actual and/or beneficial interests in property.

        365.    Defendants, individually and collectively, have engaged in “racketeering

activity” as defined by 18 U.S.C. § 1961(1) by engaging in activities that are prohibited by 18

U.S.C. § 2320, namely, trafficking good bearing the Counterfeit Mark (collectively, the

“Racketeering Activity”).

        366.    The Racketeering Activity is not a one-time occurrence.

        367.    The Racketeering Activity has occurred repeatedly and without stopping over

several months and continues to occur to this day such that it that poses a threat of continuity, in

other words, projects into the future with a certain threat of repetition until stopped by this Court.

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       368.    As evidenced by, inter alia, Defendants’ websites and multiple retail locations,

the predicate Racketeering Activity is Defendants’ way of conducting business activity that is

intended to steal Plaintiff’s valuable trademarks, goodwill, and its very business, and to profit

from such theft.

       369.    The Racketeering Activity undertaken by Defendants can be attributed to each

Defendant operating as part of a long-term association that exists for criminal purposes.

       370.    The multiple occurrences of Racketeering Activity are not unrelated occurrences

or isolated events.

       371.    The Racketeering Activity has occurred and continues to occur such there is a

pattern of criminal acts that have the same or similar purposes, results, participants, victim,

and/or methods of commission that are related.

       372.    Upon information and believe, Defendants, individually and collectively, have

imported and sold multiple units (e.g. cabinets) of the Counterfeit Cabinetry on different dates

and in multiple States.

       373.    Since the time that Defendants first engaged in Racketeering Activity, they have

engaged in additional similar endeavors by, inter alia, adding new retail locations such as the

recent location and new website for a Kentucky location.

       374.    The Racketeering Activity has a direct nexus with interstate commerce because, at

least, the Counterfeit Cabinetry

               a) is imported from outside the United States;

               (b) travels from the port of entry to another location in the United States;

               (c) is offered for sale in multiple states (including but not limited to Illinois,

       Texas, Florida, Kentucky, and Washington); and


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               (d) upon information and belief, uses mail, interstate wires, or other

       instrumentalities of interstate commerce (including but not limited, internet websites,

       telephone lines (as listed on Defendants’ websites), and mobile phone lines).

       375.    Upon information and belief, Defendants, individually and collectively, knew that

they were engaging in the offer for sale, sale, and/or importation of counterfeit cabinetry and

using the PROCRAFT CABINETRY® Mark and PROCRAFT Design Mark both on the

cabinetry and in connection with the offer for sale in interstate commerce, sale in interstate

commerce, and importation of the Counterfeit Cabinetry.

       376.    The Racketeering Activity is economically motivated in that it involves profiting

or attempting to profit from the sales of the Counterfeit Cabinetry.

       377.    To the extent any Defendant claims ignorance, such Defendant cannot claim

ignorance when, upon information and belief, Defendant knew, should have known, or strongly

suspects that they were involved with the sale of Counterfeit Cabinetry; the unauthorized use of

the PROCRAFT CABINETRY® Mark and PROCRAFT Design Mark both on the cabinetry and

in connection with the offer for sale, sale, and importation of the Counterfeit Cabinetry; and the

fact that “Procraft Cabinetry, Inc.” was identified as a member of some of the Defendant entities

but was never present at any meeting of the members or boards of directors and was never

provided financial information.

       378.    Moreover, Defendants’ intent may be inferred from the fact that Defendants

facilitated the offers for sale, sales, and importation of the Counterfeit Cabinetry and gained

money and profited from Procraft’s goodwill and reputation associated with the PROCRAFT

CABINETRY® Mark and PROCRAFT Design Mark.




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          379.   Defendants have undertaken “racketeering activity” as defined by 18 U.S.C. §

1961(1) by undertaking actions that are indictable under 18 U.S.C. § 2320 (relating to trafficking

in goods or services bearing counterfeit marks).

          380.   As described previously, Defendants have used a “counterfeit mark” as defined by

18 U.S.C. § 2320(f)(1).

          381.   Defendants have intentionally used the spurious Counterfeit Marks directly on the

Counterfeit Cabinetry and in connection with the Counterfeit Cabinetry through at least labels,

boxes, containers, documentation and packaging that were sold, offered for sale, and imported,

and continue to be sold, offered for sale, and imported in numerous states throughout the United

States.

          382.   The spurious Counterfeit Marks are intentionally identical with or substantially

indistinguishable from the PROCRAFT CABINETRY® Mark or the PROCRAFT Design Mark.

          383.   The spurious Counterfeit Marks are likely to cause confusion, to cause mistake, or

deceive, and in fact, actual confusion, mistake, and deception has occurred as set forth in detail

herein.

          384.   The spurious Counterfeit Marks are intentionally applied to the Counterfeit

Cabinetry, which is the same goods for which the PROCRAFT CABINETRY® Mark is

registered with the United States Patent and Trademark Office.

          385.   Upon information and believe, Defendants, individually and collectively, have

imported and sold multiple units of the Counterfeit Cabinetry on different dates and in multiple

States.

          386.   Defendants’ intentional actions and uses of the Counterfeit Marks in interstate

commerce violated 18 U.S.C. § 2320.


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       387.    Defendants’ uses of the Counterfeit Marks in connection with the Counterfeit

Cabinetry are not the repackaging of genuine goods originating from Plaintiff and are intended to

deceive or confuse consumers as to the actual origin of the Counterfeit Cabinetry.

       388.    Defendants are part of an “enterprise” as defined by 18 U.S.C. § 1961(4) because,

although not a legal entity, Defendants form a union or group associated-in-fact.

       389.    Defendants have a shared purpose to steal Plaintiff’s valuable trademarks,

goodwill, and its very business, and to profit from such theft.

       390.    There also is an interrelationship between ownership of the corporate Defendants.

       391.    Upon information and belief, Defendants also have a structured relationship in

that certain Defendants import the Counterfeit Cabinetry; certain Defendants distribute the

Counterfeit Cabinetry to other Defendants; and certain Defendants then sell the Counterfeit

Cabinetry to consumers.

       392.    Moreover, Defendants share websites that list multiple Defendants and multiple

locations on the shared websites to give appearance of a single entity, or source, even though the

Defendant entities are separately formed companies.

       393.    Upon information and belief, Defendants share a continuity of structure and

personnel that shows relationships among those associated with the enterprise for example, but

not by way of limitation, common and shared distribution; shared purchasing of cabinetry;

collective marketing (including but not limited to listings on the same website); and common and

overlapping ownership.

       394.    Upon information and belief, Defendants have an ascertainable structure distinct

from that inherent pattern of racketeering namely, Defendants are several legal entities and

individuals that that are distinct entities separate from their engagement in the pattern of


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racketeering activity and yet function as an enterprise with a hierarchical structure derived from

common ownership and upon information and belief, distribution and coordination.

        395.    Finally, Defendants’ Racketeering Activities have shown longevity sufficient to

permit the Defendants to pursue the enterprise’s purpose.

        396.    Defendants’ individual and collective actions that meet the definition of

“enterprise” shall herein be referred to collectively as the “Enterprise.”

        397.    The individual Defendants are owners of the entity Defendants and, thus conduct

the control and manage the activities of the entity Defendants.

        398.    Further, through, at least such control and management of entity Defendants, the

individual Defendants conduct the affairs of the Enterprise just as the entity Defendants conduct

the affairs of the Enterprise.

        399.    Plaintiff has suffered injury both factually and proximately caused by Defendants’

unlawful Enterprise and pattern of Racketeering Activity including, but not limited to, actual

monetary damages; loss of value of the PROCRAFT CABINETRY® Mark and/or the

PROCRAFT Design Mark; value of its overall business; harm to reputation; lost customers; and

lost opportunities for sale of its products.

        400.    Upon information and belief, Defendants have used the income generated from

the unlawful Enterprise and pattern of Racketeering Activity to reinvest in the Enterprise to

import more Counterfeit Cabinetry, increase the marketing of the Counterfeit Cabinetry and

businesses in the Enterprise, and open new retail locations and otherwise distribute more

Counterfeit Cabinetry.

2.      Factual Allegations Common to All Trademark And Unfair Competition Counts

        401.    Without ProCraft’s knowledge or consent, and beginning long after ProCraft had

established extensive and valuable goodwill in connection with its goods identified by the
                                            72


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subject marks, Defendants commenced to use, and are currently using, in interstate commerce

and commerce affecting interstate commerce, the phrases “PROCRAFT,” “PROCRAFT

KITCHEN & BATH,” “PROCRAFT CHICAGO,” “PROCRAFT DALLAS,” “PROCRAFT

HOUSTON,” “PROCRAFT SEATTLE,” “PROCRAFT MIAMI,” “PROCRAFT CABINETRY

& GRANITE DEPOT,” “PROCRAFT KY,” “PROCRAFT URBANDALE,” the Infringing

Design Mark, and/or variants thereof similar to or likely to cause confusion with the

PROCRAFT Marks Mark (collectively, the “Infringing Marks” or “Counterfeit Marks”) as a

trademark in connection with the sale, offering for sale, distribution, advertising, and promotion

of its services, including, without limitation, cabinet products, accessories, and services.

       402.    Defendants are not authorized dealers, distributors, designers, or sales

representatives of ProCraft.

       a.      ProCraft’s Former Relationship With The Dealer Defendants.

       403.    Sweet Home, PC Florida, PC Dallas, PC Houston, and PC Seattle (collectively,

the “Former Dealer Defendants”) previously were permitted to sell ProCraft Cabinetry®

Products under certain terms and conditions.

       404.    Specifically, ProCraft agreed to sell ProCraft Cabinetry® Products to the Former

Dealer Defendants, provided that at least PC Florida, PC Dallas, PC Houston, and PC Seattle

served as exclusive ProCraft dealers and the Former Dealer Defendants timely paid for the

ProCraft Cabinetry® Products ordered and received.

       405.    In connection with this exclusive dealer relationship, the PC Florida, PC Dallas,

PC Houston, and PC Seattle were only permitted to sell ProCraft Cabinetry® Products, to the

exclusion of all other manufacturers of cabinet products and accessories.




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         406.   In connection with this exclusive dealer relationship, the Former Dealer

Defendants were listed on ProCraft’s website located at www.procraftcabinetry.com (the

“ProCraft Website”) and were permitted to use the PROCRAFT Marks only in connection with

the sale of authorized and genuine ProCraft Cabinetry® Products.

         407.   The Former Dealer Defendants were not permitted to use the PROCRAFT Marks

in connection with any websites other than the ProCraft Website.

         408.   The Former Dealer Defendants were not permitted to use the PROCRAFT Marks

in connection with the sale of any products not that were not manufactured by or purchased from

ProCraft.

         409.   The Former Dealer Defendants were not permitted to sublicense the PROCRAFT

Marks.

         410.   ProCraft retained all ownership of the PROCRAFT Marks in connection with its

exclusive dealer relationship with the Former Dealer Defendants.

         411.   As dealers of ProCraft Cabinetry® Products, any use by the Former Dealer

Defendants of the PROCRAFT Marks inured to the benefit of ProCraft.

         412.   In connection with this dealer relationship and as the manufacturer of the ProCraft

Cabinetry® Products, ProCraft exercised exclusive control over the nature and quality of the

PROCRAFT CABINETRY® branded goods sold by the Former Dealer Defendants.

         413.   In connection with this dealer relationship and as the manufacturer of the ProCraft

Cabinetry® Products, ProCraft exercised exclusive control over the nature and quality of the

goods sold by the Former Dealer Defendants under the PROCRAFT Marks.




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       414.    Any authorization granted to the Former Dealer Defendants to use the

PROCRAFT Marks was immediately revoked upon violation of the dealer relationship and/or

nonpayment of outstanding invoices.

       415.    As described in Section V(D)(4) infra, Sweet Home ceased paying for ProCraft

Cabinetry® Products on or around December 27, 2016.

       416.    As described in Section V(D)(4) infra, PC Florida ceased paying for ProCraft

Cabinetry® Products on or around May 8, 2017.

       417.    As described in Section V(D)(4) infra, PC Dallas ceased paying for ProCraft

Cabinetry® Products received on or around December 16, 2016.

       418.    As described in Section V(D)(4) infra, PC Houston ceased paying for ProCraft

Cabinetry® Products received on or around October 11, 2016.

       419.    As described in Section V(D)(4) infra, PC Seattle ceased paying for ProCraft

Cabinetry® Products received on or around October 26, 2016.

       420.    At least as early as May 18, 2017, the Former Dealer Defendants had actual notice

that they were no longer authorized to sell ProCraft Cabinetry® Products or use the PROCRAFT

Marks or variants thereof.

       b.      Defendants’ Intentional Scheme To Overtake ProCraft’s Business.

       421.    Upon information and belief, the Former Dealer Defendants’ refusal to pay for

ProCraft Cabinetry® Products received is part of an intentional scheme of trademark

infringement, counterfeiting, and unfair competition, wherein the Former Dealer Defendants,

together with the remaining Defendants, conspired to exploit and usurp ProCraft’s valuable

goodwill by engaging in open and notorious infringement of the PROCRAFT Marks, copying

ProCraft’s website design, content, and advertising materials, targeting ProCraft’s existing and


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potential customers in the United States, refusing to pay for ProCraft Cabinetry® Products

received, circumventing ProCraft’s exclusive dealer channels and selling counterfeit products

under the PROCRAFT Marks.

       422.   ProCraft removed the Former Dealer Defendants as authorized dealers from the

ProCraft Website in or around January 2017.

       423.   Upon information and belief, upon ProCraft’s removal of the Dealer Defendants

from the ProCraft Website and refusal to sell further ProCraft Cabinetry® Products to the Dealer

Defendants, Defendants commenced their intentional scheme to exploit and usurp ProCraft’s

PROCRAFT Marks, ProCraft business, and ProCraft customers by launching several

unauthorized websites utilizing the PROCRAFT Marks and selling counterfeit ProCraft

products.

              i.      Defendants’ Purchase Of The Infringing Domain Names

       424.   Upon information and belief, Defendants own and operate the ProCraft Kitchen

Website located at www.procraftkitchenandbath.com. See Exhibit 5.

       425.   Upon information and belief, Defendants own and operate the PC Miami Website

located at www.procraftmiami.com. See Exhibit 15.

       426.   Upon information and belief, Defendants own and operate the PC Chicago

Website located at cabinetsplacerandom.squarespace.com. See Exhibit 14.

       427.   Upon information and belief, Defendants own and operate the PC Urbandale

Website located at www.gcraftcabinetry.com. See Exhibit 16.

       428.   Upon information and belief, Defendants own and operate the PC Kentucky

Website located at www.granitecincinnati.com. See Exhibit 17.




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        429.   Upon information and belief, Defendants also have purchased several domain

names     incorporating    the    Infringing    Marks,   including,      without    limitation,

www.procraftkitchenandbath.com,       www.procraftchicago.com,         www.procraftdallas.com,

www.procrafthouston.com,           www.procraftmiami.com,             www.procraftseattle.com,

www.procraftky.com, and www.aaprocraftkitchen.com (the “Infringing Domain Names”).

        430.   According to the WHOIS registry, the www.procraftkitchenandbath.com domain

name was created on January 24, 2017. See Exhibit 4.

        431.   According to the WHOIS registry, the www.procraftmiami.com domain name

was created on January 30, 2017. A true and correct copy of the WHOIS information for the

www.procraftkitchenandbath.com domain name is attached hereto as Exhibit 18.

        432.   According to the WHOIS registry, the www.gcraftcabinetry.com domain name

was created on May 20, 2017. A true and correct copy of the WHOIS information for the PC

Urbandale Website is attached hereto as Exhibit 19.

        433.   According to the WHOIS registry, the www.procraftchicago.com domain name

was created on August 25, 2016. A true and correct copy of the WHOIS information for the

www.procraftchicago.com domain name is attached hereto as Exhibit 20.

        434.   According to the WHOIS registry, the www.procraftdallas.com domain name was

created on October 26, 2016. A true and correct copy of the WHOIS information for the

www.procraftdallas.com domain name is attached hereto as Exhibit 21.

        435.   According to the WHOIS registry, the www.procrafthouston.com domain name

was created on October 26, 2016. A true and correct copy of the WHOIS information for the

www.procrafthouston.com domain name is attached hereto as Exhibit 22.




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       436.   According to the WHOIS registry, the www.procraftseattle.com domain name

was created on October 26, 2016. A true and correct copy of the WHOIS information for the

www.procraftseattle.com domain name is attached hereto as Exhibit 23.

       437.   According to the WHOIS registry, the www.procraftky.com domain name was

created on March 3, 2015 and updated on February 16, 2017. A true and correct copy of the

WHOIS information for the www.procraftky.com domain name is attached hereto as Exhibit 24.

       438.   According to the WHOIS registry, the www.aaprocraftkitchen.com domain name

was created on June 15, 2017. A true and correct copy of the WHOIS information for the

www.aaprocraftkitchen.com domain name is attached hereto as Exhibit 25.

              ii.     Defendants’ Copying Of The ProCraft Website

       439.   On the ProCraft Kitchen Website for Defendants’ Counterfeit Cabinetry and as an

aid to their sales efforts, Defendants have included unauthorized reproductions of ProCraft’s

original content. A chart comparing Defendants’ copied content to ProCraft’s website content is

attached hereto as Exhibit 26.

       440.   Specifically, Defendants have copied nearly word for word several pages of

ProCraft’s textual content on the ProCraft Website and used such unauthorized copies on the

ProCraft Kitchen Website.

       441.   For their ProCraft Kitchen Website, Defendants copied and utilize a substantially

similar website design and layout as the ProCraft Website.

       442.   For their PC Chicago Website, Defendants copied and utilize a substantially

similar website design and layout as the ProCraft Website.

       443.   For their PC Miami Website, Defendants copied and utilize a substantially similar

website design and layout as the ProCraft Website.


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       444.   For their PC Urbandale Website, Defendants copied and utilize a substantially

similar website design and layout as the ProCraft Website.

              iii.    Defendants’ Sale Of Counterfeit Cabinetry

       445.   On the Infringing Websites and as an aid to their sales efforts, Defendants offer

for sale without authorization cabinet products and accessories under the PROCRAFT Marks

(the “Counterfeit Cabinetry”).

       446.   Upon information and belief, Defendants have contracted with a non-ProCraft

manufacturing facility in China to purchase cabinet products and accessories.

       447.   Upon information and belief, Defendants’ unauthorized manufacturer stamps the

Counterfeit Cabinetry with either the PROCRAFT Marks or the Infringing Design Mark, as

shown below on the ProCraft Kitchen Website and PC Urbandale Website:




                       Fig. 1: Screenshot from ProCraft Kitchen Website




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                           Fig. 2: Screenshot from PC Urbandale Website

A true and correct copy of screenshots of select ProCraft Kitchen Webpages and PC Urbandale

Webpages is attached hereto as Exhibit 27.

       448.      Defendants use the Product Marks owned by ProCraft in connection with the sale

of the Counterfeit Cabinetry.

       449.      For example, on the ProCraft Kitchen Website, Defendants offer for sale the

following Counterfeit Cabinetry under ProCraft’s Product Marks:

                 a. “Arlington Oatmeal;”

                 b.   “Avalon Ashen;”

                 c. “Belmont Gibraltar Gray;”

                 d. “Liberty Shaker White;”

                 e.   “Liberty Shaker Gray;”

                 f. “Liberty Shaker Espresso;”

                 g. “Portland Chestnut;” and

                 h. “Saratoga Cinnamon.”

See Exhibit 5.

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       450.   The ProCraft Kitchen Website also advertises that accessory products offered

under the PROCRAFT Marks are “coming soon!” See Exhibit 5.

       451.   On the PC Chicago Website, Defendants offer for sale the following Counterfeit

Cabinetry under ProCraft’s Product Marks:

              a. “Arlington Oatmeal;”

              b.   “Avalon Ashen;”

              c. “Belmont Gibraltar Gray;”

              d. “Liberty Shaker White;”

              e. “Liberty Shaker Espresso;”

              f. “Liberty Shaker Gray;”

              g. “Portland Chestnut;”

              h. “Saratoga Cinnamon;”

              i. “Calumet Mocha;”

              j. “Providence White;” and

              k. “Sonoma Espresso.”

See Exhibit 14.

       452.   On the PC Miami Website, Defendants advertise unauthorized countertop

products under the PROCRAFT Marks. See Exhibit 13.

       453.   On the PC Urbandale Website, Defendants offer for sale the following Counterfeit

Cabinetry under ProCraft’s Product Marks:

              a. “Arlington Oatmeal;”

              b.   “Avalon Ashen;”

              c. “Belmont Gibraltar Gray;”


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              d. “Liberty Shaker White;”

              e. “Liberty Shaker Espresso;”

              f. “Liberty Shaker Gray;”

              g. “Portland Chestnut;” and

              h.   “Calumet Mocha.”

See Exhibit 16.

       454.   The PC Urbandale Website advertises that accessory products offered under the

PROCRAFT Marks are “coming soon!” See Exhibit 16.

       455.   On the PC Urbandale Website, Defendants advertise unauthorized faucet products

under the PROCRAFT Marks. See Exhibit 16.

       456.   On the PC Kentucky Website, Defendants offer for sale the following Counterfeit

Cabinetry:

              a. “Arlington Oatmeal;”

              b.   “Avalon Ashen;”

              c. “Belmont Gibraltar Gray;”

              d. “Liberty Shaker White;”

              e. “Liberty Shaker Espresso;”

              f. “Liberty Shaker Gray;”

              g. “Portland Chestnut;”

              h. “Saratoga Cinnamon;”

              i. “Calumet Mocha;”

              j. “Calumet Ivory;”

              k. “Providence Espresso;”


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               l. “Providence White;” and

               m. “Sonoma Espresso.”

See Exhibit 17.

               iv.     Defendants’ False And/Or Misleading Statements

       457.    Defendants also have been making literally false and/or impliedly false and

misleading statements through the Infringing Websites, which are likely to cause confusion, and

to cause mistake, and to deceive as to the nature, characteristics, qualities, source, or geographic

origin of Defendants’ goods, services, or commercial activities, ProCraft generally, and/or

ProCraft’s goods, services, or commercial activities.

       458.    Through their statements on the Infringing Websites and to ProCraft’s existing

and potential customers, Defendants have made literally and/or impliedly false and misleading

statements which are likely to cause confusion, and to cause mistake, and to deceive as to the

source, sponsorship, approval, or certification of Defendants’ goods or services by ProCraft.

       459.     Through their statements on the Infringing Websites, Defendants have made

literally false and/or impliedly false and misleading representations that Defendants are the

manufacturer of ProCraft Cabinetry® Products.

       460.    In addition, on June 27, 2017, Defendants, by and through Paul Lin and PC

Florida, sent a letter to Excalibur Kitchen and Bath, a ProCraft customer. A true and correct

copy of the June 27, 2017 letter is attached hereto as Exhibit 28.

       461.    In the June 27, 2017 letter, Defendants have made literally false and/or impliedly

false and misleading representations that ProCraft is Defendants’ “Tennessee location.” See

Exhibit 28.




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       462.      Through the Infringing Websites, Defendants have made literally and/or impliedly

false and misleading statements which are likely to cause confusion, and to cause mistake, and to

deceive as to the nature, characteristics, qualities, source, or geographic origin of Defendants’

goods, services, or commercial activities, ProCraft generally, and/or ProCraft’s goods, services,

or commercial activities.

       463.      Through their Infringing Websites, Defendants have made literally and/or

impliedly false and misleading statements which are likely to cause confusion, and to cause

mistake, and to deceive as to the source, sponsorship, approval, or certification of Defendants’

goods or services by ProCraft.

       464.      Through their statements alleged herein, Defendants falsely and/or misleadingly

represent to existing and potential customers that Defendants are affiliated with or authorized by

ProCraft to sell ProCraft Cabinetry® Products.

       465.      Through their statements alleged herein, Defendants falsely and/or misleadingly

represent to existing and potential customers that Defendants are the manufacturer of ProCraft

Cabinetry® Products.

       466.      Through their statements alleged herein, Defendants falsely and/or misleadingly

represent to existing and potential customers that Defendants have over 40 years of experience.

       467.      Upon information and belief, through the ProCraft Kitchen Website, Defendants

falsely and/or misleadingly represent to existing and potential customers that Defendants are

affiliated with the following organizations:




See Exhibit 5.

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        468.   Upon information and belief, even if Defendants’ statements on the Infringing

Websites are not literally false when taken individually, the cumulative effect of Defendants’

statements is impliedly false and/or misleading.

        c.     Defendants’ Wrongful Conduct

        469.   Through their use of the Infringing Marks, including, but not limited to, on the

ProCraft Kitchen Website, the PC Miami Website, the PC Urbandale Website, the PC Chicago

Website and the PC Kentucky Website (collectively, the “Infringing Websites”) and in the

Infringing Domain Names, Defendants seek to unfairly trade off the valuable goodwill and

reputation built by ProCraft through its PROCRAFT Marks.

        470.   Defendants’ uses of the Infringing Marks in interstate commerce to advertise,

promote, offer for sale, and sell its cabinet products, accessories, and services, through the

Infringing Websites, and in the Infringing Domain Names, were never approved, permitted or

endorsed by ProCraft, and occurred after ProCraft had established extensive and valuable

goodwill in connection with its goods and services identified by the PROCRAFT Marks.

        471.   Defendants’ use of the Infringing Marks in interstate commerce and commerce

affecting interstate commerce was and continues to be without ProCraft’s consent, and beginning

long after ProCraft had established extensive and valuable goodwill in connection with its goods

and services identified by the PROCRAFT Marks.

        472.   ProCraft’s first use in commerce of the PROCRAFT Marks predates Defendants’

first use of the Infringing Marks and, therefore, have priority over Defendants’ first use of the

Infringing Marks.

3.      Factual Allegations Common To Causes Of Action Arising Under The Shareholder
        Agreement

        473.   ProCraft Inc. was formed on or around January 15, 2010.

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       474.    Hui “Sophia” Chen (“Sophia Chen”) is the sole individual or entity listed on the

Articles of Organization of ProCraft Inc.

       475.    Sophia Chen is listed as the registered agent of ProCraft Inc.

       476.    In or around       REDACTED           Sophia Chen, Peter Huang, and Jackey Lin

entered into a Shareholders’ Agreement of Procraft Cabinetry, Inc. Company (the “Shareholders

Agreement”). A true and correct copy of the Shareholders Agreement is attached hereto as

Exhibit 29.

       477.    ProCraft is a third party beneficiary of the Shareholders Agreement.

       478.    At all times prior to execution of the Shareholders Agreement, Sophia Chen was

the sole owner of ProCraft.

       479.                                          REDACTED




       480.                                          REDACTED




       481.                                          REDACTED




       482.                                          REDACTED




       483.                                          REDACTED




       484.                                      REDACTED




                                                86


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       485.                                      REDACTED




       486.                                      REDACTED




       487.                                      REDACTED




       488.                                      REDACTED




       489.                                      REDACTED




       490.   Peter Huang and Jackey Lin, by failing to              REDACTED

under the Shareholders’ Agreement, have breached the Shareholders Agreement.

       491.                                      REDACTED




       492.   RED

              ED




       493.                               REDACTED

       494.                                      REDACTED




                                            87


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   495.                                        REDACTED




   496.   Marc Skopec is a sales representative for ProCraft.

   497.                                        REDACTED




   498.                                        REDACTED




   499.                                        REDACTED




   500.                                        REDACTED




   501.                                        REDACTED




   502.                                        REDACTED




   503.                                        REDACTED




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       504.                                         REDACTED




       505.                                         REDACTED




       506.                                         REDACTED




       507.    Through their actions described herein, Peter Huang and Jackey Lin have

breached the Shareholders Agreement.

       508.    The breach has been documented by ProCraft and has proven to be harmful to

ProCraft.

       509.    Peter Huang and Jackey Lin were notified of the breach at least as early as service

if this Complaint.

       510.    Notwithstanding being notified of their breach, Peter Huang and Jackey Lin

continue to breach the Shareholders’ Agreement                      REDACTED




       511.                                         REDACTED




       512.                                         REDACTED




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        513.                                        REDACTED




4.      Factual Allegations Common To All Breach of Contract Counts And Violations of
        Business Statutes Arising Under State Law

        a.     PC Florida’s Purchase of ProCraft’s Products and Subsequent Failure to
               Pay for Such Products.

        514.   PC Florida was formed as a limited liability company on or around December 1,

2015.

        515.   PC Florida’s Articles of Incorporation lists ProCraft as a member of PC Florida.

See Exhibit 13.

        516.   ProCraft had no knowledge of its status as a member of PC Florida until recently

and has never received any distribution or payment from PC Florida as a member.

        517.   PC Florida placed warehouse and container orders from ProCraft for cabinets and

cabinet accessories over the years.

        518.   In 2016 and 2017, PC Florida placed multiple orders for product from ProCraft’s

warehouse totaling $27,870.41. A true and correct copy of PC Florida’s Customer Open Balance

Transaction Report and the invoices sent to PC Florida relating to the warehouse orders are

attached as collective Exhibit 30.

        519.   ProCraft delivered the products to PC Florida.

        520.   Upon information and belief, PC Florida is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

        521.   As shown from PC Florida’s Customer Open Balance Transaction Report, PC

Florida has failed to pay for its warehouse orders and currently owes ProCraft $27,870.41 for the

warehouse orders.
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       522.    In addition, PC Florida placed multiple container orders totaling $584,239.25.

       523.    The container orders required ProCraft to manufacture the order at its

manufacturing facility.   A true and correct copy of PC Florida’s Customer Open Balance

Transaction Report and the invoices sent to PC Florida relating to the container orders are

attached as collective Exhibit 31.

       524.    ProCraft delivered the products to PC Florida.

       525.    Upon information and belief, PC Florida is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       526.    As shown from PC Florida’s Customer Open Balance Transaction Report, PC

Florida has failed to pay for its container orders and currently owes ProCraft $584,239.25 for the

container orders.

       527.    On May 18, 2017, ProCraft sent PC Florida a demand letter to the registered agent

address located on PC Florida’s Articles of Incorporation. A true and correct copy of the May

18, 2017 correspondence is attached as Exhibit 32.

       528.    The letter came back as undeliverable as PC Florida had changed its registered

agent’s address.

       529.    On May 31, 2017, ProCraft resent the letter to Paul Chih Yang Lin as the

registered agent for PC Florida at the most recent registered agent address. A true and correct

copy of the May 31, 2017 correspondence to PC Florida is attached as Exhibit 33.

       530.    ProCraft’s correspondence to PC Florida, among other things, demands payment

of the current balance of $612,109.66 owed to ProCraft be paid in full.




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       531.    Further, as an alleged member of PC Florida, ProCraft demands in the

correspondence that PC Florida provide certain records and information pursuant to Section

605.0410(1) of the Florida Revised Limited Liability Act.

       532.    PC Florida has failed to pay the outstanding balance of $612,109.66 and has

failed to provide the requested records and financial records to ProCraft.

       b.      PC Seattle’s Purchase of ProCraft’s Products and Subsequent Failure to Pay
               for Such Products.

       533.    PC Seattle placed warehouse and container orders from ProCraft for cabinets and

cabinet accessories over the years.

       534.    In 2015 and 2016, PC Seattle placed multiple orders for product from ProCraft’s

warehouse totaling $40,504.14. A true and correct copy of PC Seattle’s Customer Open Balance

Transaction Report and the invoices sent to PC Seattle relating to the warehouse orders are

attached as collective Exhibit 34.

       535.    ProCraft delivered the products to PC Seattle.

       536.    Upon information and belief, PC Seattle is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       537.    As shown from PC Seattle’s Customer Open Balance Transaction Report, PC

Seattle has failed to pay for all its warehouse orders and currently owes ProCraft $17,263.0 for

the warehouse orders.

       538.    In 2015 and 2016, PC Seattle placed multiple container orders.

       539.    The container orders required ProCraft to manufacture the order at its

manufacturing facility.   A true and correct copy of PC Seattle’s Customer Open Balance



                                                92


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Transaction Report and the invoices sent to PC Seattle relating to the container orders are

attached as collective Exhibit 35.

       540.    ProCraft delivered the products to PC Seattle.

       541.    Upon information and belief, PC Seattle is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       542.    As shown from PC Seattle’s Customer Open Balance Transaction Report, PC

Seattle has failed to pay for its container orders and currently owes ProCraft $222,727.72 for the

container orders.

       543.    On May 18, 2017, Procraft sent PC Seattle a demand letter to its registered

agent’s address. A true and correct copy of the May 18, 2017 correspondence is attached as

Exhibit 36.

       544.    ProCraft’s correspondence to PC Seattle, among other things, demands payment

of the current balance of $240,010.73 owed to ProCraft be paid in full.

       545.    PC Seattle has failed to pay the outstanding balance of $240,010.73 to ProCraft.

       c.      PC Dallas’s Purchase of ProCraft’s Products and Subsequent Failure to Pay
               for Such Products.

       546.    PC Dallas was formed as a limited liability company on or around August 21,

2014. PC Dallas’s Certificate of Formation lists ProCraft as a member of PC Dallas. See

Exhibit 8.

       547.    ProCraft had no knowledge of its status as a member of PC Dallas until recently

and has never received any distribution or payment from PC Dallas as a member.

       548.    PC Dallas placed warehouse and container orders from ProCraft for cabinets and

cabinet accessories in 2015 and 2016.

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       549.    In 2015 and 2016, PC Dallas placed multiple orders for product from ProCraft’s

warehouse totaling $43,488.21. A true and correct copy of PC Dallas’s Customer Open Balance

Transaction Report and the invoices sent to PC Dallas relating to the warehouse orders are

attached as collective Exhibit 37.

       550.    ProCraft delivered the products to PC Dallas.

       551.    Upon information and belief, PC Dallas is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       552.    As shown from PC Dallas’s Customer Open Balance Transaction Report, Procraft

Dallas has failed to pay for its warehouse orders and currently owes ProCraft $45,580.02 for the

warehouse orders.

       553.    In addition, PC Dallas placed multiple container orders.

       554.    The container orders required ProCraft to manufacture the order at its

manufacturing facility.   A true and correct copy of PC Dallas’s Customer Open Balance

Transaction Report and the invoices sent to PC Dallas relating to the container orders are

attached as collective Exhibit 38.

       555.    ProCraft delivered the products to PC Dallas.

       556.    Upon information and belief, PC Dallas is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       557.    As shown from PC Dallas’s Customer Open Balance Transaction Report, PC

Dallas has failed to pay for its container orders and currently owes ProCraft $706,223.78 for the

container orders.


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         558.   On May 18, 2017, ProCraft sent PC Dallas a demand letter to the registered agent.

A true and correct copy of the May 18, 2017 correspondence is attached as Exhibit 39.

         559.   ProCraft’s correspondence to PC Dallas, among other things, demands payment

of the current balance of $751,803.80 owed to ProCraft be paid in full.

         560.   Further, as an alleged member of PC Dallas, ProCraft demands in the

correspondence that PC Dallas provide certain records and information pursuant to Section

3.151 of the General Provisions of Texas’s Business Organization Code.

         561.   PC Dallas has failed to pay the outstanding balance of $751,803.80 and has failed

to provide the requested records and financial records to ProCraft.

         d.     PC Houston’s Purchase of ProCraft’s Products and Subsequent Failure to
                Pay for Such Products.

         562.   PC Houston was formed as a limited liability company on or around August 21,

2014. PC Houston’s Certificate of Formation lists ProCraft as a member of PC Houston. See

Exhibit 10.

         563.   ProCraft had no knowledge of its status as a member of PC Houston until recently

and has never received any distribution or payment from PC Houston as a member.

         564.   PC Houston placed warehouse and container orders from ProCraft for cabinets

and cabinet accessories.

         565.   PC Houston placed multiple orders for product from ProCraft’s warehouse. A

true and correct copy of PC Houston’s Customer Open Balance Transaction Report and the

invoices sent to PC Houston relating to the warehouse orders are attached as collective Exhibit

40.

         566.   ProCraft delivered the products to PC Houston.



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       567.    Upon information and belief, PC Houston is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       568.    As shown from PC Houston’s Customer Open Balance Transaction Report, PC

Houston has failed to pay for all its warehouse orders and currently owes ProCraft $15,950.67

for the warehouse orders.

       569.    PC Houston also placed multiple container orders totaling $1,759,757.79.

       570.    The container orders required ProCraft to manufacture the order at its

manufacturing facility. A true and correct copy of PC Houston’s Customer Open Balance

Transaction Report and the invoices sent to PC Houston relating to the container orders are

attached as collective Exhibit 41.

       571.    ProCraft delivered the products to PC Houston.

       572.    Upon information and belief, PC Houston is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       573.    As shown from PC Houston’s Customer Open Balance Transaction Report, PC

Houston has failed to pay for its container orders and currently owes ProCraft $1,027,989.71 for

the container orders.

       574.    On May 18, 2017, ProCraft sent PC Houston a demand letter to the registered

agent address located on PC Houston’s Certificate of Formation. A true and correct copy of the

May 18, 2017 correspondence is attached as Exhibit 42.

       575.    The letter came back as undeliverable as PC Houston had changed its registered

agent’s address.


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         576.   On May 31, 2017, ProCraft resent the letter to Tao Zheng as the registered agent

for PC Houston at the most recent registered agent address. A true and correct copy of the May

31, 2017 correspondence to PC Houston is attached as Exhibit 43.

         577.   ProCraft’s correspondence to PC Houston, among other things, demands payment

of the current balance of $1,043,940.38 owed to ProCraft be paid in full.

         578.   Further, as an alleged member of PC Houston, ProCraft demands in the

correspondence that PC Houston provide certain records and information pursuant to Section

3.151 of the General Provisions of Texas’s Business Organization Code.

         579.   PC Houston has failed to pay the outstanding balance of $1,043,940.38 and has

failed to provide the requested records and financial records to ProCraft.

         e.     Sweet Home’s Purchase of ProCraft’s Products and Subsequent Failure to
                Pay for Such Products.

         580.   Sweet Home was formed as corporation on or around July 1, 2013.

         581.   Sweet Home placed warehouse and container orders from ProCraft for cabinets

and cabinet accessories.

         582.   Sweet Home placed multiple orders for product from ProCraft’s warehouse. A

true and correct copy of Sweet Home’s Customer Open Balance Transaction Report and the

invoices sent to Sweet Home relating to the warehouse orders are attached as collective Exhibit

44.

         583.   ProCraft delivered the products to Sweet Home.

         584.   Upon information and belief, Sweet Home is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.



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       585.    As shown from Sweet Home’s Customer Open Balance Transaction Report,

Sweet Home has failed to pay for its warehouse orders and currently owes ProCraft $361,350.20

for the warehouse orders.

       586.    In addition, Sweet Home has placed multiple container orders.

       587.    The container orders required ProCraft to manufacture the order at its

manufacturing facility. A true and correct copy of Sweet Home’s Customer Open Balance

Transaction Report and the invoices sent to Sweet Home relating to the container orders are

attached as collective Exhibit 45.

       588.    ProCraft delivered the products to Sweet Home.

       589.    Upon information and belief, Sweet Home is still in possession and control of the

products, has sold the products to a third party, or has wrongfully transferred such products to

another Defendant without proper payment.

       590.    As shown from Sweet Home’s Customer Open Balance Transaction Report,

Sweet Home has failed to pay for all its container orders and currently owes ProCraft

$927,780.57 for the container orders.

       591.    On May 18, 2017, ProCraft sent Sweet Home a demand letter to the registered

agent. A true and correct copy of the May 18, 2017 correspondence is attached as Exhibit 46.

       592.    ProCraft’s correspondence to Sweet Home, among other things, demands

payment of the current balance of $1,289,120.77 owed to ProCraft be paid in full.

       593.    Sweet Home has failed to pay the outstanding balance of $1,289,120.77 to

ProCraft.

                               E.       HARM TO PROCRAFT

       594.    ProCraft and Defendants are competitors in the kitchen and bath industry.


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       595.    Defendants’ use of the Infringing Marks is without ProCraft’s permission or

authority and is likely to cause confusion, mistake, and deception among consumers and

customers.

       596.    Actual confusion and the loss of goodwill and business to ProCraft as a result of

Defendants’ actions alleged herein are evident from Defendants’ communications with

ProCraft’s existing and potential customers.

       597.    For example, on June 27, 2017, Defendants, by and through Paul Lin and PC

Florida, sent a letter to Excalibur Kitchen and Bath, a ProCraft customer. See Exhibit 28.

       598.     In the June 27, 2017 letter, Defendants acknowledge Excalibur Kitchen and

Bath’s confusion between ProCraft and Defendants.

       599.    The June 27, 2017 letter demonstrates the actual confusion and harm caused by

Defendants’ false and/or deceptively misleading representations and infringement of the

PROCRAFT Marks.

       600.    By means of further example, on October 6, 2017, ProCraft received a letter from

Mary and Sam Saenz regarding their purchase of Counterfeit Cabinetry from PC Dallas. A true

and correct copy of the October 6, 2017 letter is attached hereto as Exhibit 47.

       601.    In the October 6, 2017 letter, Mr. and Ms. Saenz identified several significant

complaints with Defendants’ Counterfeit Cabinetry, including, without limitation, defective

installation, issues with Defendants’ agents’ unprofessional conduct (including use of a

contractor with a criminal record), and Defendants’ refusal to correct or replace their defective

installation of Counterfeit Cabinetry.

       602.    In the October 6, 2017 letter, Mr. and Ms. Saenz state that, as a result of their

purchase of Defendants’ Counterfeit Cabinetry, “Having ProCraft Cabinets installed in my home


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by Chenault has caused my family mental anguish and stress which my family should not have

had to endure.”

       603.    In the October 6, 2017 letter, Mr. and Ms. Saenz state that, as a result of their

purchase of Defendants’ Counterfeit Cabinetry, “ProCraft Cabinetry, Inc. should be more

selective on who they elect to be distributors/dealers.”

       604.    In the October 6, 2017 letter, Mr. and Ms. Saenz state that, as a result of their

purchase of Defendants’ Counterfeit Cabinetry, “Chenault’s behavior is also a reflection on

ProCraft.”

       605.    In the October 6, 2017 letter, Mr. and Ms. Saenz state that, as a result of their

purchase of Defendants’ Counterfeit Cabinetry, “a product designed and manufactured by

ProCraft was defective, and ProCraft is liable solely because it sold the product in question as a

part of the stream of commerce.”

       606.    The October 6, 2017 letter demonstrates the actual confusion and harm caused by

Defendants’ false and/or deceptively misleading representations, infringement of the

PROCRAFT Marks, and sale of Counterfeit Cabinetry.

       607.    Defendants’ use of the Infringing Marks in interstate commerce to advertise,

promote, and market its goods and services were never approved, permitted or endorsed by

ProCraft, and occurred after ProCraft had established extensive and valuable goodwill in

connection with its goods and services identified by the PROCRAFT Marks.

       608.    In selecting and continuing its use of the Infringing Marks, notwithstanding its

actual knowledge of ProCraft’s rights, Defendants have acted and continues to act with the

wanton disregard for ProCraft’s rights, and with the willful intent and purpose of improperly

taking or benefiting from the favorable reputation and valuable goodwill that ProCraft has


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established in the PROCRAFT Marks. Defendants’ actions have caused and continue to cause

their goods and services to be passed off as made, authorized, sponsored, or endorsed by or

otherwise connected or associated with ProCraft.

       609.    The infringing trade names and trademarks utilized by Defendants are colorable

imitations of and confusingly similar to the PROCRAFT Marks.

       610.    Defendants’ wrongful and illegal activities are likely to cause confusion, and have

to cause mistake, and to deceive consumers and others as to the source, nature, characteristics,

and quality of the goods and services offered by Defendants.

       611.    Defendants’ wrongful and illegal activities are likely to cause confusion, and to

cause mistake, and to deceive consumers and others as to the to the origin, sponsorship, or

approval of the goods and services offered by Defendants with or by ProCraft.

       612.    Defendants’ offering of cabinet products, accessories, and services under the

Infringing Marks is likely to cause, to the extent it has not already, actual confusion, actual

injury, and loss of goodwill and business to ProCraft.

       613.    Upon information and belief, ProCraft has lost sales from, and Defendants have

wrongfully profited from, sales of Defendants’ Counterfeit Cabinetry, services, and accessory

products for use in connection with the Counterfeit Cabinetry.

       614.    Defendants     have offered for sale, continues to offer for sale, has sold, and

enables others to sell its Counterfeit Cabinetry.




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                                    VI.      CAUSES OF ACTION

                                                COUNT I

                   VIOLATIONS OF THE RICO ACT, 18 U.S.C. § 1962(a).

                                          (against all Defendants)

       615.    Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

       616.    As set forth above, Defendants have engaged in a pattern of “racketeering

activity” as defined in 18 U.S.C. § 1961(1).

       617.    As set forth above, Defendants have engaged in a pattern of “pattern of

racketeering activity” as defined in 18 U.S.C. § 1961(5).

       618.    As set forth above, Defendants collectively are “enterprise” as defined in 18

U.S.C. § 1961(4) whose activities affect interstate commerce.

       619.    Upon information and belief, Defendants, individually and collectively, have

received and continue to receive income derived, directly or indirectly, from the aforementioned

pattern of racketeering activity.

       620.    Upon information and belief, Defendants, individually and collectively, have used

or invested, directly or indirectly the aforementioned income, or the proceeds of the

aforementioned income, in acquisition of an interest in, or the operation of, the Enterprise which

is engaged in, or the activities of which affect, interstate or foreign commerce.

       621.    Based on at least the aforementioned actions, Defendants have individually and

collectively violated 18 U.S.C. § 1962(a).

       622.    As direct and proximate result of Defendants’ racketeering activities and

violations of 18 U.S.C. § 1962(a), Plaintiffs have been injured in their business and property.




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                                             COUNT II

                  VIOLATIONS OF THE RICO ACT, 18 U.S.C. § 1962(b).

                                     (against all Defendants)

       623.    Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

       624.    As set forth above, Defendants have engaged in a pattern of “racketeering

activity” as defined in 18 U.S.C. § 1961(1).

       625.    As set forth above, Defendants have engaged in a pattern of “pattern of

racketeering activity” as defined in 18 U.S.C. § 1961(5).

       626.    As set forth above, Defendants collectively are “enterprise” as defined in 18

U.S.C. § 1961(4) whose activities affect interstate commerce.

       627.    Upon information and belief, Defendants, individually and collectively, are either

employed by or associated with the Enterprise, which is engaged in, or the activities of which

affect, interstate or foreign commerce.

       628.    Upon information and belief, Defendants, individually and collectively conducted

or participated and continue to conduct or participate, directly or indirectly, in the conduct of the

Enterprise’s affairs through the aforementioned pattern of racketeering activity.

       629.    Upon information and belief, Defendants have used the income generated from

the unlawful Enterprise and pattern of Racketeering Activity to reinvest in the Enterprise to

import more Counterfeit Cabinetry; increase the marketing of the Counterfeit Cabinetry and

businesses in the Enterprise; open new retail locations; otherwise distribute more Counterfeit

Cabinetry; and invest in other investments both to benefit of the Enterprise and the Defendants

individually and collectively.

       630.    Based on at least the aforementioned actions, Defendants have individually and

collectively violated 18 U.S.C. § 1962(c).
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       631.    As direct and proximate result of the Defendants’ racketeering activities and

violations of 18 U.S.C. § 1962(c), Plaintiff has been injured in its business and property.

                                             COUNT III

                  VIOLATIONS OF THE RICO ACT, 18 U.S.C. § 1962(c).

                                     (against all Defendants)

       632.    Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

       633.    As set forth previously, Defendants have conspired to participate in activities

prohibited by 18 U.S.C. §§ 1962(a)-(c).

       634.    Based on at least the aforementioned actions, Defendants have individually and

collectively violated 18 U.S.C. § 1962(d).

       635.    As direct and proximate result of the Defendants’ racketeering activities and

violations of 18 U.S.C. § 1962(c), Plaintiff has been injured in its business and property.

                                             COUNT IV

               VIOLATIONS OF THE RICO ACT, 18 U.S.C. § 1962(d) et seq.

                                     (against all Defendants)

       636.    Plaintiff incorporates the preceding paragraphs as though fully set forth herein.

       637.    As set forth above, Defendants have engaged in a pattern of “racketeering

activity” as defined in 18 U.S.C. § 1961(1).

       638.    As set forth above, Defendants have engaged in a pattern of “pattern of

racketeering activity” as defined in 18 U.S.C. § 1961(5).

       639.    As set forth above, Defendants collectively are “enterprise” as defined in 18

U.S.C. § 1961(4) whose activities affect interstate commerce.




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                                           COUNT V

                FEDERAL AND STATE TRADEMARK INFRINGEMENT

                                    (against all Defendants)

       640.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       641.    Defendants’ acts constitute infringement of ProCraft’s exclusive rights to the

PROCRAFT Marks in violation of the Lanham Act, specifically 15 U.S.C. § 1114(1) and § 1125,

and of ProCraft’s trademark rights under Tennessee state and common law.

       642.    Defendants have used in commerce a reproduction, counterfeit, copy, or colorable

imitation of the PROCRAFT Marks in connection with the sale, offering for sale, distribution, or

advertising of Defendants’ goods or services on or in connection with which such use is likely to

cause confusion, to cause mistake, or to deceive.

       643.    Defendants’ acts of infringement have caused ProCraft damages, and ProCraft

seeks judgment pursuant to 15 U.S.C. § 1117 for Defendants’ profits made by Defendants’

unauthorized and infringing use of the PROCRAFT Marks, or variants thereof similar to or

likely to cause confusion with the PROCRAFT Marks, for the damages sustained by ProCraft,

for all costs necessary to remediate the infringing uses and their effects, and for the costs,

expenses, and reasonable attorney fees (as this is an exceptional case) incurred in bringing the

present action and prior attempts to remedy Defendants’ actions.

       644.    ProCraft seeks an award of punitive and/or treble damages for at least three times

the amount of Defendants’ profits or ProCraft’s damages, whichever is greater, due to the nature

of Defendants’ wanton and willful conduct.

       645.    Pursuant to 15 U.S.C. § 1116 and equity, ProCraft is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.


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          646.   Pursuant to 15 U.S.C. § 1118 and equity, ProCraft is entitled to impoundment and

destruction of infringing articles.

          647.   ProCraft is further entitled to all available remedies provided by common law,

including, but not limited, to temporary and permanent injunctive relief; Defendants’ profits; any

damages sustained by ProCraft; and costs.

                                             COUNT VI

                                TRADE NAME INFRINGEMENT

                                      (against all Defendants)

          648.   ProCraft incorporates the preceding paragraphs as though fully set forth herein.

          649.   Defendants’ acts constitute trade name infringement in violation of ProCraft’s

trade name rights at common law.

          650.   Defendants’ acts of infringement have caused ProCraft damages, and ProCraft

seeks judgment for Defendants’ profits made by Defendants’ unauthorized and infringing use of

ProCraft’s trade name, for the damages sustained by ProCraft, for all costs necessary to

remediate the infringing uses and their effects, and for the costs incurred in bringing the present

action.

          651.   Further, ProCraft is entitled to preliminary and permanent injunctive relief against

Defendants to stop the illegal conduct.

                                            COUNT VII

          FEDERAL TRADEMARK COUNTERFEITING IN VIOLATION OF THE
                      LANHAM ACT, 15 U.S.C. § 1114(1)(a)

                                      (against all Defendants)

          652.   ProCraft incorporates the preceding paragraphs as though fully set forth herein.




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       653.    Defendants’ acts constitute infringement of ProCraft’s exclusive rights to the

PROCRAFT Marks in violation of the Lanham Act, specifically 15 U.S.C. § 1114(1) and § 1125,

and of ProCraft’s trademark rights under Tennessee state and common law.

       654.    Defendants have used in commerce a reproduction, counterfeit, copy, or colorable

imitation of the PROCRAFT Marks in connection with the sale, offering for sale, distribution, or

advertising of Defendants’ goods or services on or in connection with which such use is likely to

cause confusion, to cause mistake, or to deceive.

       655.    Defendants’ Infringing Marks are a counterfeit of a mark that is registered on the

principal register in the United States Patent and Trademark Office for such goods or services

sold, offered for sale, or distributed and that is in use, whether or not Defendants knew such

mark was so registered.

       656.    Defendants’ Infringing Marks are spurious marks which are identical with, or

substantially indistinguishable from, ProCraft’s PROCRAFT CABINETRY® Mark.

       657.    Defendants have infringed ProCraft’s registered PROCRAFT CABINETRY®

Trademark in violation of 15 U.S.C. § 1114.

       658.    Defendants intentionally used the Infringing Marks knowing that the Infringing

Marks are counterfeit marks as defined by 15 U.S.C. §1116.

       659.    Defendants’ acts of infringement have caused ProCraft damages, and ProCraft

seeks judgment pursuant to 15 U.S.C. § 1117 for Defendants’ profits made by Defendants’

unauthorized and infringing use of the counterfeit marks, or variants thereof similar to or likely

to cause confusion with the PROCRAFT Marks, for the damages sustained by ProCraft, for all

costs necessary to remediate the infringing uses and their effects, and for the costs, expenses, and




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reasonable attorney fees (as this is an exceptional case) incurred in bringing the present action

and prior attempts to remedy Defendants’ actions.

       660.      ProCraft seeks an award of punitive and/or treble damages for at least three times

the amount of Defendants’ profits or ProCraft’s damages, whichever is greater, due to the nature

of Defendants’ wanton and willful conduct.

       661.      Pursuant to 15 U.S.C. § 1116 and equity, ProCraft is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.

       662.      Pursuant to 15 U.S.C. § 1118 and equity, ProCraft is entitled to impoundment and

destruction of infringing articles.

       663.      ProCraft is further entitled to all available remedies provided by common law,

including, but not limited, to temporary and permanent injunctive relief; Defendants’ profits; any

damages sustained by ProCraft; and costs.

                                           COUNT VIII

      FEDERAL STATUTORY UNFAIR COMPETITION IN VIOLATION OF THE
                    LANHAM ACT, 15 U.S.C. § 1125(a)

                                      (against all Defendants)

       664.      ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       665.      Defendants have used names and marks which are identical or confusingly similar

to ProCraft’s PROCRAFT Marks with the intent to deceive the public into believing that goods

and services offered or sold by Defendants are made by, approved by, sponsored by, or affiliated

with ProCraft.

       666.      Defendants’ acts as alleged herein were committed with the intent to pass off

Defendants’ goods and services as the goods and services of, approved by, sponsored by, or

affiliated with ProCraft, and with the intent to deceive and defraud the public.

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       667.    Defendants’ acts constitute unfair competition and passing off, and have caused

ProCraft damages, including, without limitation, lost profits, harm to reputation, and costs to

remediate the confusion and harm to ProCraft’s goodwill and reputation caused by Defendants.

       668.    Defendants’ acts constitute violations of 15 U.S.C. § 1125.

       669.    Defendants’ acts of unfair competition have caused ProCraft damages, and

ProCraft seeks judgment pursuant to 15 U.S.C. § 1117 for Defendants’ profits made by

Defendants’ unfair competition and passing off of ProCraft’s goods and services, for the

damages sustained by ProCraft, for all costs necessary to remediate the unfair competition and

passing off and their effects, and for the costs, expenses, and reasonable attorney fees (as this is

an exceptional case) incurred in bringing the present action and prior attempts to remedy

Defendants’ actions.

       670.    ProCraft further seeks judgment for three times the amount of Defendants’ profits

or Plaintiff’s damages, whichever is greater, due to the nature of Defendants’ conduct.

       671.    Pursuant to 15 U.S.C. § 1116 and equity, ProCraft is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.

       672.    Pursuant to 15 U.S.C. § 1118 and equity, ProCraft is entitled to impoundment and

destruction of infringing articles.

                                            COUNT IX

   FALSE DESIGNATION OF ORIGIN IN VIOLATION OF THE LANHAM ACT, 15
                           U.S.C. § 1125(a)

                                      (against all Defendants)

       673.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       674.    Defendants have caused products and/or services to enter interstate commerce

designated with variations of the PROCRAFT Marks.

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       675.    Defendants’ use of said designation and other representations constitute a false

designation of origin which is likely to cause confusion, to cause mistake, and to deceive as to

the affiliation, connection, or association of Defendants with ProCraft and as to the origin,

sponsorship, or approval of such goods and services by ProCraft.

       676.    Defendants’ acts are in violation of 15 U.S.C. § 1125 in that Defendants have

used in connection with their goods and services a false designation of origin, or a false or

misleading description and representation of fact, which is likely to cause confusion, and to

cause mistake, and to deceive as to the affiliation, connection, or association of Defendants with

ProCraft and as to the origin, sponsorship, and approval of Defendants’ goods, services, and

commercial activities by ProCraft.

       677.    Defendants’ acts have caused ProCraft damages, and ProCraft seeks judgment

pursuant to 15 U.S.C. § 1117 for Defendants’ profits made by Defendants’ unfair competition

and passing off of ProCraft’s goods and services, for the damages sustained by ProCraft, for all

costs necessary to remediate the unlawful acts and their effects, and for the costs, expenses, and

reasonable attorney fees (as this is an exceptional case) incurred in bringing the present action

and prior attempts to remedy Defendants’ actions.

       678.    ProCraft further seeks judgment for three times the amount of Defendants’ profits

or ProCraft’s damages, whichever is greater, due to the nature of Defendants’ conduct.

       679.    Pursuant to 15 U.S.C. § 1116 and equity, ProCraft is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal infringing conduct.

       680.    Pursuant to 15 U.S.C. § 1118 and equity, ProCraft is entitled to impoundment and

destruction of infringing articles.




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                                           COUNT X

        FALSE DESIGNATION OF ORIGIN IN VIOLATION OF THE LANHAM
                          ACT, 15 U.S.C. § 1125(a)

                                    (against all Defendants)

       681.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       682.    Defendants have acted as direct competitors to ProCraft.

       683.    Defendants’ explicit and implicit promotional claims in interstate commerce

about their cabinet products, accessories, and services using the PROCRAFT Marks, including,

but not limited to, the statements contained in Section V(D)(2)(b)(iv) supra, are literally and/or

impliedly false and misleading.

       684.    Defendants’ explicit and implicit promotional claims in interstate commerce

about ProCraft and/or ProCraft’s ProCraft Cabinetry® Products, and including, but not limited

to, the statements contained in Sections Section V(D)(2)(b)(iv) supra, are literally and/or

impliedly false and misleading.

       685.    Defendants’ sale of and offers for sale of their cabinet products, accessories, and

services using the PROCRAFT Marks, as alleged herein, constitutes “use in commerce” as

defined in 15 U.S.C. § 1127.

       686.    As alleged herein, Defendants have intentionally made literally false statements in

commercial advertising or promotion in interstate commerce which misrepresent the source,

sponsorship, approval, or certification of Defendants’ goods or services by ProCraft, including,

but not limited to, the statements contained in Section V(D)(2)(b)(iv) supra.

       687.    As alleged herein, Defendants have intentionally made literally false statements in

commercial advertising or promotion in interstate commerce which misrepresent the nature,

characteristics, qualities, source, or geographic origin of Defendants’ products, ProCraft

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generally, ProCraft’s products and/or services, or commercial activities, including, but not

limited to, the statements contained in Section V(D)(2)(b)(iv) supra.

       688.    Defendants’ false and/or misleading statements regarding their cabinet products,

accessories, and services using the PROCRAFT Marks are material in that the statements will

likely influence existing and potential buyers of (a) cabinet products, accessories, and services

generally; (b) Defendants’ cabinet products, accessories, and services using the PROCRAFT

Marks; (c) ProCraft’s ProCraft Cabinetry® Products; and (d) accessory or related products for

Defendants’ cabinet products and services using the PROCRAFT Marks and/or ProCraft’s

ProCraft Cabinetry® Products.

       689.    Buyers of Defendants’ cabinet products, accessories, and services using the

PROCRAFT Marks (and buyers of cabinet products, accessories, and services generally) have no

choice in many circumstances but to trust that statements made by Defendants (directly or

through its agents or representatives) that Defendants’ cabinet products, accessories, and services

using the PROCRAFT Marks have the nature, characteristics, and qualities claimed for them by

Defendants.

       690.    Defendants’ false and/or misleading statements regarding their cabinet products,

accessories, and services using the PROCRAFT Marks have actually deceived or have the

capacity to tend to deceive a substantial portion of the intended audience for such statements.

       691.    Defendants’ false and/or misleading statements regarding ProCraft and/or

ProCraft’s ProCraft Cabinetry® Products are material in that the statements will likely influence

existing and potential buyers of (a) cabinet products, accessories, and services generally; (b)

Defendants’ cabinet products, accessories, and services using the PROCRAFT Marks; (c)

ProCraft’s ProCraft Cabinetry® Products; and (d) accessory or related products for Defendants’


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cabinet products and services using the PROCRAFT Marks and/or ProCraft’s ProCraft

Cabinetry® Products.

       692.    Buyers of Defendants’ cabinet products, accessories, and services using the

PROCRAFT Marks (and buyers of cabinet products, accessories, and services generally) have no

choice in many circumstances but to trust that statements made by Defendants (directly or

through its agents or representatives) that ProCraft and/or ProCraft’s ProCraft Cabinetry®

Products, have the nature, characteristics, and qualities claimed for them by Defendants.

       693.    Defendants’ false and/or misleading statements regarding ProCraft and/or

ProCraft’s ProCraft Cabinetry® Products have actually deceived or have the capacity to tend to

deceive a substantial portion of the intended audience for such statements.

       694.    Defendants’ false or misleading statements have been introduced into interstate

commerce through, among other avenues, Defendants’ publication of such statements on the

Infringing Websites and in direct communications to potential and existing customers.

       695.    By these actions, Defendants have engaged and continue to engage in false

advertising and unfair competition in violation of the statutory law of the United States, 15

U.S.C. § 1125 et seq. As a result, ProCraft has suffered and will continue to suffer damage to its

business, reputation, and goodwill.

       696.    Defendants willfully, knowingly, intentionally, maliciously, or recklessly are

using in commerce false and/or misleading descriptions of fact or misleading representations of

fact concerning the nature, characteristics, and qualities of Defendants’ cabinet products,

accessories, and services using the PROCRAFT Marks and ProCraft’s ProCraft Cabinetry®

Products and/or about ProCraft generally.




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       697.    Defendants’ false and/or misleading statements have caused ProCraft injury

and/or are likely to cause ProCraft injury, either by direct diversion of sales from ProCraft to

Defendants or by a lessening of the goodwill associated with ProCraft’s ProCraft Cabinetry®

Products.

       698.    ProCraft has been injured by Defendants’ actions and representations because

customers who would otherwise have purchased from ProCraft have made, or will make,

purchasing decisions based upon Defendants’ false and misleading representations concerning

the attributes of Defendants’ cabinet products, accessories, and services using the PROCRAFT

Marks and ProCraft’s ProCraft Cabinetry® Products.

       699.    Unless enjoined by this Court, Defendants’ acts will irreparably injure ProCraft’s

goodwill and erode its sales, customer base, and share in the market for cabinet products,

accessories, and services.

       700.    Defendants’ acts have caused ProCraft damages, and ProCraft seeks judgment

pursuant to 15 U.S.C. § 1117 for statutory damages, Defendants’ profits, any damages sustained

by ProCraft; for all costs, expenses, and reasonable attorney fees (as this is an exceptional case)

incurred in bringing the present action and attempts to remedy Defendants’ actions.

       701.    ProCraft seeks an award of treble damages for at least three times the amount of

Defendants’ profits or ProCraft’s damages, whichever is greater, due to the nature of

Defendants’ wanton and willful conduct.

       702.    Pursuant to 15 U.S.C. § 1116 and equity, ProCraft is entitled to preliminary and

permanent injunctive relief against Defendants to stop the illegal conduct.




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       703.    Pursuant to 15 U.S.C. § 1117, ProCraft seeks judgment for three times the amount

of Defendants’ profits or ProCraft’s damages, whichever is greater, due to the nature of

Defendants’ conduct.

       704.    Defendants’ acts are willful, wanton, and calculated to deceive, and are

undertaken in bad faith, making this an exceptional case entitling ProCraft to recover additional

damages and reasonable attorney fees and expenses pursuant to 15 U.S.C. § 1117.

       705.    Pursuant to 15 U.S.C. § 1118 and equity, ProCraft is entitled to impoundment and

destruction of all packaging, containers, devices, products, literature, advertising and any other

material bearing false, deceptive, and/or misleading statements and/or any variants thereof (or

similar wording).

                                           COUNT XI

                       CYBERSQUATTING UNDER FEDERAL LAW

                                     (against all Defendants)

       706.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       707.    Defendants     have      registered    and/or     use     the    domain      name

www.procraftkitchenandbath.com.

       708.    Defendants     have      registered    and/or     use     the    domain      name

www.procraftchicago.com.

       709.    Defendants have registered and/or use the domain name www.procraftdallas.com.

       710.    Defendants     have      registered    and/or     use     the    domain      name

www.procrafthouston.com.

       711.    Defendants     have      registered    and/or     use     the    domain      name

www.procraftmiami.com.


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        712.    Defendants      have       registered   and/or   use    the    domain      name

www.procraftseattle.com.

        713.    Defendants have registered and/or use the domain name www.procraftky.com.

        714.    Defendants      have       registered   and/or   use    the    domain      name

www.aaprocraftkitchen.com.

        715.    The Infringing Domain Names are identical and/or confusingly similar to, and/or

dilutive to the PROCRAFT Marks.

        716.    Defendants have a bad faith intent to profit from use of the Infringing

PROCRAFT Marks in the Infringing Domain Names as evidenced by, inter alia, the

infringement of the PROCRAFT Marks and the intent to divert customers from ProCraft’s

business and website to a site accessible under Infringing Domain Names that could harm the

goodwill represented by the mark, either for commercial gain or with the intent to tarnish or

disparage the mark, by creating a likelihood of confusion as to the source, sponsorship,

affiliation, or endorsement of the site.

        717.    ProCraft has suffered and continue to suffer harm from Defendants’ registration

and use of the Infringing Domain Names.

        718.    ProCraft is entitled to all available remedies provided by 15 U.S.C. §§ 1114,

1116, 1117, 1118, and 1125, including temporary, preliminary and permanent injunctive relief;

Defendants’ profits; any damages sustained by ProCraft; costs; pre-judgment interest; post-

judgment interest; transfer and/or cancellation of the Infringing Domain Names; and other

equitable relief.

        719.    This is an exceptional case under 15 U.S.C. § 1117 such that ProCraft is entitled

to its reasonable attorney fees and expenses.


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                                        COUNT XII

    UNFAIR COMPETITION IN VIOLATION OF TENNESSEE COMMON LAW

                                    (against all Defendants)

       720. ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       721. As alleged herein, ProCraft owns the PROCRAFT Marks.

       722. As alleged herein, the PROCRAFT Marks are valid and legally protectable.

       723. Defendants’ infringing use of the PROCRAFT Marks, and/or variants thereof

similar to or likely to cause confusion with the PROCRAFT Marks, is likely to cause confusion

concerning the origin of the goods and services associated with the mark.

       724. ProCraft and Defendants are competitors in the kitchen and bath industry, and

compete for a common pool of customers. As alleged herein, Defendants have engaged in

unfair, deceptive, or fraudulent conduct, which is likely to cause, if it has not already, customer

confusion in violation of Tennessee common law.

       725. Through Defendants’ unauthorized use of the PROCRAFT Marks, and/or variants

thereof similar to or likely to cause confusion with the PROCRAFT Marks, in connection with

their cabinet products, accessories, and services, on the Infringing Websites, and in commerce,

Defendants have committed trademark infringement, passing off, palming off, imitating, and/or

unfair or deceptive practices that are causing or are likely to cause confusion or deception.

       726. Defendants are liable to ProCraft for unfair competition under Tennessee law,

because Defendants’ conduct is tortious and has deprived ProCraft of customers and other

prospects.

       727. Defendants’ acts as alleged herein were committed with the intent to deceive and

defraud the public in order to gain an increase its sales, customer base, and share in the kitchen

and bath industry and/or eliminate ProCraft from the kitchen and bath industry.
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        728. Defendants’ acts as alleged herein constitute unfair competition in violation of

Tennessee law.

        729. Defendants’ acts constituting unfair competition have caused ProCraft damages as

alleged herein.

        730. Defendants’ foregoing acts constitute unfair competition and infringement of

ProCraft’s common law rights for which ProCraft has no adequate remedy at law.

        731. Defendants’ acts of unfair competition have caused ProCraft damages, and

ProCraft seeks ProCraft’s goods and services, for the damages sustained by ProCraft, for all

costs necessary to remediate the unfair competition and passing off and their effects, and for the

costs incurred in bringing the present action and prior attempts to remedy Defendants’ actions.

        732. ProCraft further seeks judgment for punitive damages of at least three times the

amount of Defendant’s profits or ProCraft’s damages, whichever is greater, due to the nature of

Defendants’ conduct.

        733. Further, ProCraft is entitled to preliminary and permanent injunctive relief against

Defendants to stop the illegal conduct.

                                           COUNT XIII

                        COMMON LAW UNJUST ENRICHMENT

                                   (against all Defendants)

       734.   ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       735.   Upon information and belief, Defendants’ willful and knowing acts, including its

use of ProCraft’s trademarks and trade names, permitted Defendants to procure customers that it

otherwise would not have been able to obtain.

       736.   ProCraft has conferred a benefit, directly or indirectly, upon Defendants through

Defendants’ use of the Infringing Marks.
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       737.    Defendants have received appreciable benefits from using the Infringing Marks in

commerce.

       738.    It is inequitable for Defendants to retain the benefits of the use of the Infringing

Marks, including, but not limited to, monetary and reputational benefits and value of the

PROCRAFT Marks.

       739.    Defendants’ acts have caused ProCraft damages such that monetary and

injunctive remedies are appropriate.

       740.    Defendants have been unjustly enriched by virtue of its use of the Infringing

Marks, to the detriment of ProCraft, as well as consumers in the marketplace.

       741.    Defendants’ actions have been made willfully and knowingly.

       742.    Defendants’ acts have caused ProCraft damages and unjustly enriched Defendants

as alleged herein.

       743.    ProCraft is entitled to all available remedies, including preliminary and permanent

injunctive relief, damages, Defendants’ profits, enhanced damages, and costs.

                                           COUNT XIV

  BREACH OF CONTRACT/VIOLATION OF THE UCC UNDER TENNESSEE LAW

                                        (against Sweet Home)

       744.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       745.    ProCraft and Sweet Home entered into a contract where Procraft would provide

Sweet Home with cabinets and cabinet accessories and Sweet Home would pay for such goods.

       746.    Further, under Tenn. Code Ann. § 47-2-607(1), the buyer of goods must pay the

contract rate for any goods accepted.

       747.    ProCraft has delivered cabinets and cabinet accessories to Sweet Home, and

Sweet Home has accepted the cabinets and cabinet accessories.
                                            119


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       748.    Sweet Home has failed to pay for the accepted goods and currently has an

outstanding balance with ProCraft in the amount of $1,289,120.77.

       749.    ProCraft has been damaged in the amount of $1,289,120.77 due to Sweet

Homes’s nonpayment for the goods.

       750.    Such actions constitute a breach of contract under Tennessee law and/or violation

of the Uniform Commercial Code as adopted by Tennessee.

                                          COUNT XV

  BREACH OF CONTRACT/VIOLATION OF THE UCC UNDER TENNESSEE LAW

                                      (against PC Florida)

       751.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       752.    ProCraft and PC Florida entered into a contract where ProCraft would provide OC

Florida with cabinets and cabinet accessories and PC Florida would pay for such goods.

       753.    Under Tenn. Code Ann. § 47-2-607(1), the buyer of goods must pay the contract

rate for any goods accepted.

       754.    ProCraft has delivered cabinets and cabinet accessories to PC Florida and PC

Florida has accepted the cabinets and cabinet accessories.

       755.    PC Florida has failed to pay for the accepted goods and currently has an

outstanding balance with ProCraft in the amount of $612,109.66.

       756.    Such actions constitute a breach of contract under Tennessee law and/or violation

of the Uniform Commercial Code as adopted by Tennessee.

                                         COUNT XVI

          DECLARATORY JUDGMENT OF MEMBERSHIP IN PC FLORIDA

                                      (against PC Florida)

       757.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.
                                              120


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       758.    According to PC Florida’s Articles of Incorporation, ProCraft is a member of PC

Florida.

       759.    ProCraft had no knowledge of its status as a member of PC Florida until recently

and has never received any distribution or payment from PC Florida as a member.

       760.    A justiciable controversy, therefore, exists regarding ProCraft’s alleged

membership in PC Florida.

       761.    A judicial declaration is necessary and appropriate in order that ProCraft may

ascertain its rights and duties, if any, with respect to its alleged membership in PC Florida.

                                          COUNT XVII

            VIOLATION OF THE FLORIDA REVISED LIMITED LIABILITY
                   COMPANY ACT, FLA. STAT. § 605.0101 et seq.

                                       (Against PC Florida)

       762.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       763.    According to PC Florida’s Articles of Incorporation, ProCraft is a member of PC

Florida.

       764.    As a purported member of PC Florida and pursuant to Section 605.0410 of the

Florida Revised Limited Liability Act, ProCraft requested certain financial and operational

information of ProCraft Florida on May 31, 2017 to determine what, if any, membership

ProCraft held in PC Florida.

       765.    To the extent the Court determines that ProCraft is a member of PC Florida,

ProCraft is entitled to the following information as it relates to ProCraft Florida: 1) the full

names and address of each member and manager; 2) a copy of the operating agreement; 3) all

documents filed with the Florida Department of States; 4) copies of ProCraft Florida’s federal,

state, and local income tax returns and reports for the last three years; 5) copies of financial

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statements for the last three years; and 6) a record of the agreed value of each member’s actual

and/or intended contributions, and the times these contributions were and/or will be made.

       766.    To the extent the Court determines that ProCraft is a member of PC Florida, PC

Florida failed to provide ProCraft with any of the requested information and documents.

       767.    As such, ProCraft Florida has violated the Florida Revised Limited Liability Act.

       768.    To the extent the Court determines that ProCraft is a member of PC Florida,

ProCraft has suffered an actual or threatened injury that is not solely the result of an injury

suffered or threatened to be suffered by PC Florida, including, without limitation, lack of

knowledge regarding its membership interest in PC Florida, withholding of any allocation of

profits and distributions owed, and withholding of any tax benefits or deductions related to PC

Florida’s business expenses.

       769.    ProCraft is entitled to an order directing PC Florida to permit inspection or

copying of the records demanded, and any remedies, monetary or otherwise, permitted under the

Florida Revised Limited Liability Act, common law, and equity.

                                          COUNT XVIII

  BREACH OF CONTRACT/VIOLATION OF THE UCC UNDER TENNESSEE LAW

                                        (Against PC Dallas)

       770.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       771.    ProCraft and PC Dallas entered into a contract where ProCraft would provide PC

Dallas with cabinets and cabinet accessories and PC Dallas would pay for such goods.

       772.    Further, under Tenn. Code Ann. § 47-2-607(1), the buyer of goods must pay the

contract rate for any goods accepted.

       773.    ProCraft has delivered cabinets and cabinet accessories to PC Dallas and PC

Dallas has accepted the cabinets and cabinet accessories.
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          774.   Procraft Dallas has failed to pay for the accepted goods and currently has an

outstanding balance with ProCraft in the amount of $706,223.78.

          775.   Such actions constitute a breach of contract under Tennessee law and/or violation

of the Uniform Commercial Code as adopted by Tennessee.

                                           COUNT XIX

             DECLARATORY JUDGMENT OF MEMBERSHIP IN PC DALLAS

                                        (against PC Dallas)

          776.   ProCraft incorporates the preceding paragraphs as though fully set forth herein.

          777.   According to PC Dallas’ Certificate of Formation, ProCraft is a member of PC

Dallas.

          778.   ProCraft had no knowledge of its status as a member of PC Dallas until recently

and has never received any distribution or payment from PC Dallas as a member.

          779.   A justiciable controversy, therefore, exists regarding ProCraft’s alleged

membership in PC Dallas.

          780.   A judicial declaration is necessary and appropriate in order that ProCraft may

ascertain its rights and duties, if any, with respect to its alleged membership in PC Dallas.

                                            COUNT XX

          VIOLATION OF THE TEXAS BUSINESS ORGANIZATION CODE, TEX.
                            BUS. ORGS. § 1.001 et seq.

                                        (Against PC Dallas)

          781.   ProCraft incorporates the preceding paragraphs as though fully set forth herein.

          782.   According to PC Dallas’s Certificate of Formation, ProCraft is a member of PC

Dallas.



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       783.    As a purported member of PC Dallas and pursuant to Sections 3.151 and 3.153 of

the General Provisions of Texas’s Business Organization Code, ProCraft requested certain

financial and operational information and documents of PC Dallas on May 18, 2017 to determine

what, if any, membership ProCraft held in PC Dallas.

       784.    To the extent the Court determines that ProCraft is a member of PC Dallas,

ProCraft is entitled to the following information as it relates to PC Dallas: 1) a current list of the

percentage or other interest in the LLC owned by each member and if more than one class or

group of membership interest exists, the names of the members of each class or group; 2) PC

Dallas’s federal, state, and local tax information for the last six years; 3) PC Dallas’s company

agreement if in writing; 4) executed copies of any powers of attorney; 5) documents establishing

any class or group of membership interests; and 6) a written statement of the amount of cash

contribution and a description and statement of the agreed value of any other contributions made

or agreed to be made by each member, the dates the contributions were or will be made, any

event that requires a member to make additional contributions, any event that requires the

winding up of the entity, and the date each member became a member.

       785.    To the extent the Court determines that ProCraft is a member of PC Dallas, PC

Dallas failed to provide ProCraft with any of the requested information and documents.

       786.    As such, PC Dallas has violated the Texas Business Organization Code.

       787.    To the extent the Court determines that ProCraft is a member of PC Dallas,

ProCraft has suffered an actual or threatened injury that is not solely the result of an injury

suffered or threatened to be suffered by PC Dallas, including, without limitation, lack of

knowledge regarding its membership interest in PC Dallas, withholding of any allocation of




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profits and distributions owed, and withholding of any tax benefits or deductions related to PC

Dallas’ business expenses.

       788.    ProCraft is entitled to an order directing PC Dallas to permit inspection or

copying of the records demanded, and any remedies, monetary or otherwise, permitted under the

Texas Business Organization Code, common law, and equity.

                                           COUNT XXI

  BREACH OF CONTRACT/VIOLATION OF THE UCC UNDER TENNESSEE LAW

                                        (Against PC Houston)

       789.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       790.    ProCraft and PC Houston entered into a contract where ProCraft would provide

PC Houston with cabinets and cabinet accessories and PC Houston would pay for such goods.

       791.    Further, under Tenn. Code Ann. § 47-2-607(1), the buyer of goods must pay the

contract rate for any goods accepted.

       792.    ProCraft has delivered cabinets and cabinet accessories to PC Houston and PC

Houston has accepted the cabinets and cabinet accessories.

       793.    PC Houston has failed to pay for the accepted goods and currently has an

outstanding balance with ProCraft in the amount of $1,043,940.38.

       794.    Such actions constitute a breach of contract under Tennessee law and/or violation

of the Uniform Commercial Code as adopted by Tennessee.

                                           COUNT XXII

          DECLARATORY JUDGMENT OF MEMBERSHIP IN PC HOUSTON

                                        (against PC Houston)

       795.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.


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       796.    According to PC Houston’s Certificate of Formation, ProCraft is a member of PC

Houston.

       797.    ProCraft had no knowledge of its status as a member of PC Houston until recently

and has never received any distribution or payment from PC Houston as a member.

       798.    A justiciable controversy, therefore, exists regarding ProCraft’s alleged

membership in PC Houston.

       799.    A judicial declaration is necessary and appropriate in order that ProCraft may

ascertain its rights and duties, if any, with respect to its alleged membership in PC Houston.

                                         COUNT XXIII

       VIOLATION OF THE TEXAS BUSINESS ORGANIZATION CODE, TEX.
                         BUS. ORGS. § 1.001 et seq.

                                      (against PC Houston)

        800. ProCraft incorporates the preceding paragraphs as though fully set forth herein.

        801. According to PC Houston’s Certificate of Formation, ProCraft is a member of PC

Houston.

        802. As a purported member of PC Houston and pursuant to Section 3.151 of the

General Provisions of Texas’s Business Organization Code, ProCraft requested certain financial

and operational information and documents of PC Houston on May 31, 2017 to determine what,

if any, membership ProCraft held in PC Houston.

        803. To the extent the Court determines that ProCraft is a member of PC Houston,

ProCraft is entitled to the following information as it relates to PC Houston: 1) a current list of

the percentage or other interest in PC Houston owned by each member and if more than one

class or group of membership interest exists, the names of the members of each class or group;

2) PC Houston’s federal, state, and local tax information for the last six years; 3) PC Houston’s

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company agreement if in writing; 4) executed copies of any powers of attorney; 5) documents

establishing any class or group of membership interests; and 6) a written statement of the

amount of cash contribution and a description and statement of the agreed value of any other

contributions made or agreed to be made by each member, the dates the contributions were or

will be made, any event that requires a member to make additional contributions, any event that

requires the winding up of the entity, and the date each member became a member.

        804. To the extent the Court determines that ProCraft is a member of PC Houston, PC

Houston failed to provide ProCraft with any of the requested information and documents.

        805. As such, PC Houston has violated the Texas Business Organization Code.

       806.   To the extent the Court determines that ProCraft is a member of PC Houston,

ProCraft has suffered an actual or threatened injury that is not solely the result of an injury

suffered or threatened to be suffered by PC Houston, including, without limitation, lack of

knowledge regarding its membership interest in PC Houston, withholding of any allocation of

profits and distributions owed, and withholding of any tax benefits or deductions related to PC

Houston’s business expenses.

        807. ProCraft is entitled to an order directing PC Dallas to permit inspection or

copying of the records demanded, and any remedies, monetary or otherwise, permitted under

the Texas Business Organization Code, common law, and equity.

                                        COUNT XXIV

  BREACH OF CONTRACT/VIOLATION OF THE UCC UNDER TENNESSEE LAW

                                      (against PC Seattle)

       808.   ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       809.   ProCraft and PC Seattle entered into a contract where ProCraft would provide PC

Seattle with cabinets and cabinet accessories and PC Seattle would pay for such goods.
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       810.    Further, under Tenn. Code Ann. § 47-2-607(1), the buyer of goods must pay the

contract rate for any goods accepted.

       811.    ProCraft has delivered cabinets and cabinet accessories to PC Seattle and PC

Seattle has accepted the cabinets and cabinet accessories.

       812.    PC Seattle has failed to pay for the accepted goods and currently has an

outstanding balance with ProCraft in the amount of $240,010.73.

       813.    ProCraft has been damaged in the amount of $240,010.73 due to PC Seattle’s

nonpayment for the goods.

       814.    Such actions constitute a breach of contract under Tennessee law and/or violation

of the Uniform Commercial Code as adopted by Tennessee.

                                         COUNT XXV

                                  BREACH OF CONTRACT

                             (against Peter Huang and Jackey Lin)

       815.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       816.                                        REDACTED




       817.                                        REDACTED




       818.                                       REDACTED




       819.                                        REDACTED




       820.                                        REDACTED



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       821.   Peter Huang and Jackey Lin, by failing to             REDACTED

under the Shareholders Agreement, have breached the Shareholders Agreement.

       822.                                      REDACTED




       823.   RED

              ED




       824.                                REDACTED

       825.                                      REDACTED




       826.                                      REDACTED




       827.                                      REDACTED




       828.                                      REDACTED




       829.   Marc Skopec is a sales representative for ProCraft.

       830.                                      REDACTED




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    831.                              REDACTED




    832.                              REDACTED




    833.                              REDACTED




    834.                              REDACTED




    835.                              REDACTED




    836.                              REDACTED




    837.                              REDACTED




    838.                              REDACTED




    839.                              REDACTED




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       840.    Through their actions described herein, Peter Huang and Jackey Lin have

breached the Shareholders Agreement.

       841.    As a result of Peter Huang’s and Jackey Lin’s breaches of the Shareholders

Agreement, ProCraft has suffered and continues to suffer damage.

       842.    ProCraft is entitled to an award of monetary damages including, but not limited

to, actual damages, lost profits, incidental damages, consequential damages, injunctive relief,

expenses, interest, and costs.

                     VII.    ENTITLEMENT TO INJUNCTIVE RELIEF

       843.    ProCraft incorporates the preceding paragraphs as though fully set forth herein.

       844.    By reason of Defendants’ acts alleged herein, ProCraft has and will suffer

immeasurable, and thus irreparable, damage to its business, reputation, and goodwill.

       845.    Upon information and belief, Defendants intend to continue to do the acts

complained of herein unless restrained and enjoined.

       846.    ProCraft’s remedy at law is inadequate.

       847.    ProCraft is entitled to a preliminary and permanent injunction as set forth in the

Prayer for Relief hereinafter.

                                   VIII. PRAYER FOR RELIEF

       WHEREFORE, ProCraft prays:

       A.      The Court enter a judgment in favor of ProCraft and against Defendants as to all

causes of action alleged herein;

       B.      ProCraft be awarded all relief to which they are entitled under 18 U.S.C. §§ 1961

et seq.; 15 U.S.C. § 1051 et seq., Tennessee statutory and common law; the Florida Revised

Limited Liability Act, Fla. Stat. § 605.0101 et seq.; and the Texas Business Organization Code,

Tex. Bus. Orgs. § 1.001 et seq.;
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       C.       This Court issue preliminary and permanent injunctions pursuant to 15 U.S.C. §

1116, Tennessee law, and equity, enjoining and restraining Defendants, and their affiliates,

agents, partners, servants, and employees, or anyone acting with its authority or on its behalf,

from directly or indirectly using any mark, word, designation, name, or domain name similar to

ProCraft’s PROCRAFT Marks that is likely to cause confusion or mistake or to deceive;

       D.       This Court issue preliminary and permanent injunctions pursuant to 15 U.S.C. §

1116, Tennessee law, and equity, enjoining and restraining Defendants, their officers, agents,

servants, employees, attorneys, and anyone in active concert with, aiding, assisting, and/or

enabling Defendants, from stating, representing, or implying orally or in writing (including, but

not limited to, email communications, print advertisements, marketing materials, websites, blogs,

social media) any statements that are likely to cause confusion, and to cause mistake, and to

deceive as to the affiliation, connection, or association of Defendants with ProCraft, to deceive

as to the source, sponsorship, approval, or certification of Defendants’ goods or services by

ProCraft, that misrepresent the nature, characteristics, qualities, source, or geographic origin of

Defendants’ cabinet products, accessories, and services, ProCraft generally, and/or ProCraft’s

ProCraft Cabinetry® Products, and/or any false and/or misleading statements (including, without

limitation, those contained in Section V(D)(2)(b)(iv) supra), including, but not limited to:

              i.       directly or indirectly engaging in false and/or misleading advertising or

                       promotion of Defendants’ cabinet products, accessories, and services;

             ii.       making or inducing others to make false, misleading, or deceptive

                       statements or representations of fact in connection with the promotion,

                       advertisement, packaging, display, sale, offering for sale, manufacture,

                       production, circulation, or distribution of Defendants’ cabinet products,


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                      accessories, and services, including, but not limited to, through the making

                      of false and/or misleading representations about ProCraft’s ProCraft

                      Cabinetry® Products;

            iii.      making or inducing others to make false, misleading, or deceptive

                      statements or representations of fact in connection with the promotion,

                      advertisement, packaging, display, sale, offering for sale, manufacture,

                      production, circulation, or distribution of Defendants’ cabinet products,

                      accessories, and services, including, but not limited to, through the making

                      of false and/or misleading representations about ProCraft generally;

       E.      This Court issue preliminary and permanent injunctions pursuant to 15 U.S.C. §

1116, Tennessee law, and equity, enjoining and restraining Defendants, their officers, agents,

servants, employees, attorneys, and anyone in active concert with, aiding, assisting, and/or

enabling Defendants, from committing any unfair business practices directed toward obtaining

the business and/or customers of ProCraft, including, without limitation, the false and/or

misleading statements contained in Section V(D)(2)(b)(iv); and from committing any other

deceptive and/or unfair business practices directed toward devaluing or diminishing the goodwill

and reputation associated with ProCraft, including, without limitation, the false and/or

misleading statements contained in Section V(D)(2)(b)(iv);

       F.      This Court issue preliminary and permanent injunctions pursuant to 18 U.S.C. §

1964(a) imposing reasonable restrictions on Defendants’ use of the PROCRAFT CABINETRY®

Mark and PROCRAFT Design Mark and importation, offers for sale, and sales of any cabinetry

products or offering any services related to cabinetry under those marks or any variants thereof;




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       G.      This Court issue preliminary and permanent injunctions pursuant to 18 U.S.C. §

1964(a) that prohibit any person from investing in any enterprise any income derived from the

pattern of Racketeering Activity; using the pattern of Racketeering Activity to acquire or

maintain control over the Enterprise; conducting the affairs of the Enterprise through the pattern

of Racketeering; and/or conspiring with anyone to undertake the foregoing actions;

       H.      Within five (5) days of issuance of preliminary and/or permanent injunctions, the

Court order Defendants to file a sworn statement under oath and subject to penalty of perjury that

it has fully complied with the terms of the injunctions;

       I.      This Court, pursuant to 15 U.S.C. § 1118 and equity, order that all labels, signs,

prints, packages, wrappers, receptacles, pictures, websites and advertisements in the possession

or under the control of Defendants bearing any mark, word, designation, name, or domain name

that is confusingly similar to ProCraft’s PROCRAFT Marks and all plates, molds, matrices, and

other means of making the same, shall be delivered to ProCraft and destroyed;

       J.      Defendants be directed to publish and distribute corrective advertising (including,

but not limited to, through email communications and on their websites where they have

advertised) to reduce the effects of the literally false or impliedly false and/or misleading

statements regarding Defendants’ cabinet products, accessories, and services, ProCraft generally,

ProCraft’s ProCraft Cabinetry® Products, or variants thereof;

       K.      Defendants be required to account to ProCraft for any and all benefits or profits

derived by Defendant from the use of any name or mark incorporating any mark, word,

designation, name, or domain name that is confusingly similar to ProCraft’s PROCRAFT Marks,

including the sale of any and all products or services associated with any such name or mark, and

for all damages sustained by ProCraft by reason of said acts of unfair competition, false


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designation of origin, and/or other illegal acts complained of herein to the full extent permitted

by 15 U.S.C. §§ 1117 and 1125, and Tennessee common law;

       L.      ProCraft be awarded statutory damages under 15 U.S.C. § 1117(c), should

ProCraft so elect;

       M.      For its claims related to Defendants’ false and/or misleading statements, ProCraft

be granted an award of monetary damages in an amount to be determined at trial, treble damages,

punitive damages, statutory damages, prejudgment and post-judgment interest, attorney fees,

expenses, and costs as provided under 15 U.S.C. § 1117 and Tennessee statutory and common

law;

       N.      For its claims related to the Former Dealer Defendants’ breaches of contract and

violations of the UCC, ProCraft be granted an award of monetary damages in an amount to be

determined at trial as provided under Tennessee statutory and common law, but in an amount not

less than $75,000;

       O.      The Court enter a declaratory judgment as to ProCraft’s rights and duties, if any,

with respect to its alleged membership in PC Florida;

       P.      To the extent the Court determines that ProCraft is a member of PC Florida,

ProCraft is entitled to an order directing PC Florida to permit inspection or copying of the

records demanded, and any remedies, monetary or otherwise, permitted under the Florida

Revised Limited Liability Act, common law, and equity;

       Q.      The Court enter a declaratory judgment as to ProCraft’s rights and duties, if any,

with respect to its alleged membership in PC Dallas;

       R.      To the extent the Court determines that ProCraft is a member of PC Dallas,

ProCraft is entitled to an order directing PC Dallas to permit inspection or copying of the records


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demanded, and any remedies, monetary or otherwise, permitted under the Texas Business

Organizations Code, common law, and equity;

       S.      The Court enter a declaratory judgment as to ProCraft’s rights and duties, if any,

with respect to its alleged membership in PC Houston;

       T.      To the extent the Court determines that ProCraft is a member of PC Houston,

ProCraft is entitled to an order directing PC Houston to permit inspection or copying of the

records demanded, and any remedies, monetary or otherwise, permitted under the Texas

Business Organizations Code, common law, and equity;

       U.                                          REDACTED




       V.                                          REDACTED




       W.      This Court award ProCraft punitive and/or treble damages in an amount no less

than three times the amount of Defendants’ profits or ProCraft’s damages, whichever is greater,

due to the wanton, egregious, willful, deliberate, intentional, and/or malicious nature of its

actions;

       X.      This Court pursuant to 18 U.S.C. § 1964(a) order the Defendants to divest

themselves of any interest, direct or indirect, in the unlawful enterprise including but not limited

to any real property, personal property, intellectual property, money, investments, securities,

unpaid invoices, contracts, equipment, cabinetry products, and all other assets used in connection

with or related to the unlawful enterprise;

       Y.      The costs of this action be awarded to ProCraft;


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       Z.      ProCraft be awarded its reasonable attorney fees due to the exceptional nature of

this case and Defendants’ intentional, wanton and willful illegal conduct and ;

       AA.     This Court award Plaintiff its damages, costs (include reasonable attorneys’ fees

and expenses), and treble damages;

       BB.     Pursuant to 18 U.S.C. § 1964(c), the Court award Plaintiff its damages, costs

(include reasonable attorneys’ fees and expenses), and treble damages;

       CC.     Defendants be liable for any award of monetary damages, statutory damages,

treble damages, punitive damages, costs, and/or attorney fees;

       DD.     Any and all damages and other awards be assessed against Defendants jointly and

severally;

       EE.     Pre-judgment and post-judgment interest be awarded to ProCraft; and

       FF.     This Court grant such other and further relief as it shall deem just.

                                 DEMAND FOR JURY TRIAL

       Trial by jury is hereby demanded for all issues so triable.




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                                         Respectfully submitted,

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